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                                                        VIA BOX.COM                 October 17, 2022
Honorable LaShann DeArcy Hall
United States District Court, Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

     Re: Rosenshine v. A. Meshi Cosmetics Industries Ltd. et al, Case# 1:18-cv-03572-LDH-LB
Dear Judge DeArcy Hall,
        In accordance with this Court's order for Plaintiffs to respond to Defendant A. Meshi Cosmetics
Industries Ltd.'s ("Meshi") request for a pre-motion conference, we hereby respond as follows:
       1. First claim (federal trademark counterfeiting in violation of 15 U.S.C. § 1114)
        Meshi's Krasnyi Oktyabr, Inc. v. Trilini Imports, 578 F.Supp.2d 455,471 (E.D.N.Y. 2008) case
citation regarding relief under Section 32 of the Lanham Act refers to an instance where a party (in this
case distributor Krasnyi Oktyabr) that does not own trademark rights has no standing to bring a claim
under Section 32 of the Lanham Act. In our case, Plaintiffs are the undisputable trademark owners that
hold the rights to the Star Gel® trademark so they have standing to bring a claim under Section 32 of
the Lanham Act. Meshi's claim that it only sold 3,600 units of counterfeit Star Gel® on November 2016
before the trademark was registered in May 2017 does not relieve Meshi from liability under Section 32
of the Lanham Act as the counterfeiting was ongoing past the registration date, including in 2018. Not
only that, Meshi never took any action to stop the counterfeiting operation after placing the counterfeit
Star Gel® products in the stream of commerce in November 2016, even after cease and desist letters
were sent or the trademark was registered, and is therefore liable for federal trademark counterfeiting
under Section 32 of the Lanham Act. Meshi was already familiar with the Star Gel® trademark before
the counterfeiting sale on November 2016, by virtue of being the supplier of Star Gel® to Plaintiffs'
predecessors and the written agreement between them. In addition, Mr. Yermi Mizrahi refers to
Plaintiffs' predecessor, Edna, in an email to Mr. Eyal Noach of A to Z Import Inc. ("AZ") from
September 15, 2016 (before the November 2016 sale to AZ) mentioning Edna's use of the Star Gel®
trademark, proving once again that he was aware of Plaintiffs' or their predecessor's rights to the Star
Gel® trademark. As Meshi's counterfeit Star Gel® is identical to Plaintiffs' genuine Star Gel®, being
the same type of product and sold to Plaintiffs' customers, it leaves no doubt that Meshi's sale of
counterfeit Star Gel® is intentional, regardless of the trademark registration date. Plaintiffs' Statement
of Additional Facts ("Plaintiffs' Statement''), sections 1, 7, 10, 26, and 38; Plaintiffs' Response to
Defendant A. Meshi Cosmetics Industries Ltd Statement of Undisputed Material Facts ("Plaintiffs'
Response''), sections 10, 34-39, and 41.
       2. Second claim (federal trademark infringement in violation of 15 U.S.C. § 1114, 1125(a)
          and New York State common law)
        Meshi's claim that Plaintiffs admitted that they did not market or attempt to sell Star Gel® by
2016 is evidently false, as utilization of the Star Gel® mark never ceased. At any rate, Meshi's claim
that Plaintiffs abandoned the Star Gel® trademark in November 2016 is refuted as Meshi itself
acknowledges that Plaintiffs used the Star Gel® trademark in the three years prior to November 2016,
referring to the invoices Plaintiffs produced. Meshi's sale of counterfeit Star Gel®, which is identical to
Plaintiffs' Star Gel® trademark on identical goods (hair gel), to Plaintiffs' customer AZ, proves both
potential and actual customer confusion, making Meshi liable under both 15 U.S.C. § 1114, 1125(a) and
New York State common law. Plaintiffs' Statement, sections 10 and 15-31; Plaintiffs' Response,
sections 15, 20, 22, 24-26, 32, 49, and 51-54.



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       3. Third claim (false designation of origin in violation of 15 U.S.C. § 1125(a))
        Meshi's counterfeit Star Gel®, which is identical to Plaintiffs' genuine Star Gel®, is being used
on identical goods (hair gel) and sold to Plaintiffs' customer AZ, proving both potential and actual
customer confusion. Meshi's claim that Plaintiffs had no Star Gel® to sell since October 2015 is refuted
as the evidence Meshi provides refers to sales, not inventory or attempts to sell/market. Plaintiffs had
ample inventory to sell in 2015 and beyond, and their utilization of the Star Gel® mark never ceased.
Hence, Meshi's sale of counterfeit Star Gel® diverted Star Gel® sales from Plaintiffs as well as
additional complementary sales, representing the harm sustained by Plaintiffs. As Meshi itself admits to
having sold 3,600 counterfeit Star Gel® units to Plaintiffs' customer AZ, it is evident that enormous
harm was inflicted upon Plaintiffs by Meshi' s diversion of sales. Plaintiffs' Statement, sections 10 and
15-31; Plaintiffs' Response, sections 20, 22, 24-26, 32, and 51-54.
       4. Fourth claim (federal trademark dilution in violation of 15 U.S.C. § 1125(c)
          and N.Y. Gen. Bus. Law§ 360-1)
         Plaintiffs have proved that the Star Gel® trademark is famous as it has been widely sold across
the U.S. since 2004, unlike SBBI's trademark in Small Bus. Bodyguard, Inc. v. House ofMoxie, Inc., 14
CIV. 7170 CM, 2014 WL 5585339, *7 (S.D.N.Y. Oct. 30, 2014), where SBBI's customers were not
even alleged to be nationwide. Accordingly, Plaintiffs met the necessary requirements for federal
trademark dilution under 15 U.S.C. § l 125(c). As Meshi's counterfeit Star Gel® is circulating on the
market and diverting sales from Plaintiffs, while Meshi has not taken any steps to correct or mitigate any
damages resulting from its counterfeiting activities, the dilution claim under N.Y. Gen. Bus. Law§ 360-
1 is not moot, and injunctive relief is required in order to enjoin Meshi from further counterfeiting and
compel it to disseminate corrective advertisements in a form approved by the Court to acknowledge
Meshi's violations of the law hereunder, and ameliorate the false and deceptive impressions produced
by such violations. Plaintiffs' Statement, sections 10, 15-31, 52, 55, 85, and 87-92; Plaintiffs' Response,
sections 16, 18, 37-38, 41, and 52-56.
       5. Fifth claim (federal unfair competition and false advertising under 15 U.S.C. § 1125 (a)
          and New York common law)
        Meshi's claim of selling 3,600 units of counterfeit Star Gel® to Plaintiffs' customer AZ (offering
identical product in the same distribution channel) satisfies both the zone of interest test and
demonstrates economic injury to Plaintiffs of diverted Star Gel® sales to Meshi as well as additional
complementary lost sales as previously discussed. Accordingly, both the zone of interest and proximate
cause tests have been satisfied to establish statutory standing under Section 43. Plaintiffs' Statement,
sections 10 and 15-31; Plaintiffs' Response, sections 51-56.
       6. Sixth claim (contributory trademark infringement)
        Meshi's sale of counterfeit Star Gel® to AZ constitutes inducement as Meshi was familiar with
Plaintiffs' Star Gel® trademark by the time it sold counterfeit Star Gel® to AZ. Furthermore, by virtue
of Meshi's familiarity with Plaintiffs' Star Gel® trademark, Meshi knew that selling counterfeit Star
Gel® to Plaintiffs' customer AZ amounts to trademark infringement. Mr. Yermi Mizrahi refers to
Plaintiffs' predecessor in an email to Mr. Noach of AZ from September 15, 2016 (before the November
2016 sale to AZ) mentioning Edna's use of the Star Gel® trademark, proving once again that he was
aware of Plaintiffs' rights to the Star Gel® trademark. Plaintiffs' Statement, sections 6-10, 14, 20, and
37-38; Plaintiffs' Response, sections 27-30, 35, 37-38, and 41.
       7. Ninth claim (tortious conspiracy)
       Meshi's sale of counterfeit Star Gel® to AZ demonstrates a tort by diverting Star Gel® sales
from Plaintiffs. Meshi's email exchange with AZ regarding selling counterfeit Star Gel® demonstrates
an agreement between Meshi and AZ to sell counterfeit Star Gel® (Meshi refers to Plaintiffs' trademark

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rights in the email exchange with AZ), and the subsequent sale demonstrates an overt act in furtherance
of the agreement (Meshi's actual sale of Plaintiffs' Star Gel® to AZ) and the parties' intentional
participation in executing the counterfeiting operation. Furthermore, Meshi' s admission of selling 3,600
units of counterfeit Star Gel® to Plaintiffs' customer AZ demonstrates harm to Plaintiffs of diverted Star
Gel® sales as well as additional complementary sales. Plaintiffs' Statement, sections 6-10, 14, 20, and
15-31; Plaintiffs' Response, sections 51-56.
       8. Tenth claim (breach of contract)
        Meshi's claim regarding Plaintiffs' and/or their predecessors' alleged unpaid balance of
$1,967.64 for Star Gel® purchased in 2012 does not constitute a breach of contract by Plaintiffs and/or
their predecessors, as the contract only refers to a single payment in the sum of $4,900 from 2004 (section
1 to the contract), while Meshi's claim of an alleged unpaid balance refers to a purchase from 2012,
which is not part of the contract. Thus, Plaintiffs and their predecessors performed all their parts to the
contract with Meshi, satisfying the condition of due performance by Plaintiffs necessary for their breach
of contract claim against Meshi. Furthermore, Meshi's admission of selling 3,600 units of counterfeit
Star Gel® to Plaintiffs' customer AZ demonstrates the harm done to Plaintiffs, consisting of diverted
Star Gel® sales from Plaintiffs to Meshi as well as additional lost complementary sales, proving damages
were sustained by Plaintiffs as a direct result of Meshi's breach. Plaintiffs' Statement, sections 15-33;
Plaintiffs' Response, sections 9, 12, and 23.

                                                        ***
        For all the reasons set forth above, Meshi's motion for summary judgment lacks any basis and
the request for pre-motion conference should be denied.


Respectfully submitted,


                                                         Isl Oren Rosenshine    Isl Amir Rosenshine
                                                           Oren Rosenshine       Amir Rosenshine




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   UNITED STATES DISTRICT COURT

   EASTERN DISTRICT OF NEW YORK


   Oren Rosenshine
      20 Hawthorne Lane
                                                               Case No.
      Great N eek, NY 11023
   Amir Rosenshine                                        18CV3 572(LDH)(LB)
      20 Hawthorne Lane
      Great N eek, NY 11023


   Plaintiffs,

       -against-

    1) A. Meshi Cosmetics Industries Ltd.
      8 Shimon Habursakai Street
      Industrial Park Bat Yam 59598
      Israel
   2) A to Z Import Inc.
      305 E 88th Street
      Brooklyn, NY 11236
   3) Eyal Noach
      2445 E 65th Street
      Brooklyn, NY 11234


   Defendants.




   PLAINTIFFS' RESPONSE TO DEFENDANT A. MESHI COSMETICS INDUSTRIES LTD.'S
                  STATEMENT OF UNDISPUTED MATERIAL FACTS




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   Plaintiffs Oren Rosenshine and Amir Rosenshine respectfully submit the following opposition to
   A. Meshi Cosmetics Industries Ltd.' s ("Meshi") opening 56.1 statement of undisputed material
   facts:



      1. Meshi is an Israeli company (registration number 511947020) with its headquarters and
          principal place of business in Bat Yam, Israel. See the June 3, 2019 Declaration ofYermi
          Mizrahi submitted in support of Meshi's Motion to Dismiss, (ECF No. 47-2) ("Mizrahi
          Deel."), ,r,r 7-8, attached as Exhibit ("Ex.") 1 to the August 30, 2022 Declaration of Allison
          Khaskelis ("Khaskelis Deel.").

      Response: Undisputed.



      2. Its primary business is the manufacturing of skin and hair care products under the "Mon
         Platin" label. Id. at ,r 9.

      Response: Undisputed.



      3. Meshi is solely a manufacturer. Meshi maintains no offices, employees, or any operations
         whatsoever in the United States. All of its products are sold on an "ex-work" basis, which
         means that Meshi manufactures all products in its factory in Israel and notifies purchasers
         when the order is complete. The purchasers arrange to pick up their orders from the Israeli
         factory and have complete control over onward shipping and resale of the products from
         that point forward. Id. at ,r,r 10, 14, 19-20.

      Response: Undisputed.



      4. Meshi has relationships with various independent distributors around the world, who
         manage all aspects of onward sales of Meshi's products. Meshi works with numerous
         distributors for its various products, each of whom is wholly independent from Meshi. Id.
         at ,r,r 11, 20.
      Response: Undisputed.



      5. Meshi was founded by the Mizrahi family in 1994 and remains a family business to this
         day, with Yermi Mizrahi ("Mr. Mizrahi") having taken over as president and CEO in 2014
         upon the death of his brother Erez. Id. at ,r 6; Khaskelis Deel. Ex. 2.

      Response: Undisputed.




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      6. Global Manufacturing Import Export Inc. ("GMIE") was a company specializing in
         importing foreign, including Israeli, cosmetics products into the United States for sales to
         distributors and retail consumers. Amended Complaint ("Am. Compl.") (ECF No. 32) 6. It
         has been inactive since January 2015. Khaskelis Deel. Ex. 3. It has been previously run by
         the Plaintiffs' mother, Edna Rosenshine ("Edna"). See Exs. 2, 3 and 4 to Am. Compl.
      Response: Undisputed.


      7. Pursuant to an assignment agreement dated July 31, 2014, Edna, on behalf of GMIE,
         transferred the rights to the Star Gel mark to International Grooming, Inc. ("International
         Grooming"). Am. Compl. Ex. 4. The Plaintiffs, along with their sister Dorin Rosenshine,
         acted as the co-CEOs of International Grooming. Id. On January 31, 2018, International
         Grooming assigned the rights to the Star Gel mark to the Plaintiffs' father, Elazar
         Rosenshine ("Elazar"). Am. Compl. Ex. 7. On January 1, 2019, Elazar assigned the rights
         to the Star Gel mark to the Plaintiffs. Am. Compl. Ex. 8.
      Response: Undisputed.


      8. The present dispute arises from the 2004 agreement between GMIE and Meshi. Am.
         Compl. ,r 4.
      Response: Disputed. The present dispute arises not only from the 2004 agreement, but also
      from all claims alleged in the Amended Complaint ("Am. Compl.").


      9. Pursuant to the terms of that agreement, Meshi agreed to manufacture 2,000 units of a
         jojoba hair gel for GMIE at the price of $2.45 per unit, for a total payment of $4,900. Am.
         Compl. Exs. 2 & 3, ,r 1. GMIE sent a label to Meshi to print and affix on the manufactured
         units. Id. at ,r,r 3-4, 7. GMIE called the product "Star Gel" and designed a logo for it. Id.
         Meshi agreed to make the product available on an ex-work basis by October 31, 2004. Id.
         at ,r 5; Khaskelis Deel. Ex. 1 ,r 26.
      Response: Undisputed.


      10. While the contract was not renewed in writing after 2004, the relationship between Meshi
          and GMIE continued until 2012 on the basis of verbal orders. Khaskelis Deel. Ex. 1 ,r 30.
          Between 2004 and 2012, Meshi supplied approximately $10,000 worth of Star Gel to
          GMIE on an annual basis. Id.
      Response: First sentence is disputed. As the contract granted GMIE an exclusive right to the
      Star Gel® trademark with no time limit, there was no need to renew the contract. Am. Compl.
      Exs. 2 & 3, ,r 7. Second sentence is undisputed.

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      11. Neither the Plaintiffs nor its predecessors in interest ordered any Star Gel from Meshi after
          2012. Id. at ,r 31.
      Response: Undisputed.


      12. The Plaintiffs and/or their predecessors in interest failed to remit a final payment owed to
          Meshi in the amount of US $1,967.64 for their 2012 Star Gel orders. Khaskelis Deel. Ex.
          4.
      Response: Disputed. Khaskelis Deel. Ex. 4 shows an opening balance of $1,963.12 from the
      date of 01/01/2012, which proves that the source of this alleged open balance was not
      Plaintiffs' and/or their predecessors' 2012 Star Gel® orders. In fact, the opening balance
      originates from the failure of Meshi to credit GMIE's account for defective Star Gel® units
      that GMIE received from Meshi prior to 2012. See sections 25-26 of Exhibit ("Ex.") 1 to the
      October 17, 2022 Declaration of Oren Rosenshine ("Rosenshine Deel.").


      13. On March 24, 2022, Meshi served the Plaintiffs with formal requests for the production of
          documents ("Document Requests") (ECF No. 82-1). Khaskelis Deel. Ex. 5. While the
          requests speak for themselves, they sought to establish the record of all sales of Star Gel
          that the Plaintiffs or their predecessors in interest undertook or attempted to undertake
          between 2012 and the date of the requests, as well as the losses that the Plaintiffs suffered
          as a result of Meshi's alleged infractions. Id.
      Response: Undisputed.


      14. Meshi's attorneys repeatedly chased the Plaintiffs for responses to their Document
          Requests after the deadline for the same has passed. See, e.g., Khaskelis Deel. Ex. 6 (ECF
          No. 82-2), pp. 3, 5, 10.
      Response: Disputed. Plaintiffs requested more time to complete their responses, as the
      discovery requests were extremely wide-ranging. Khaskelis Deel. Ex. 6, pp. 4, 5, 6.


      15. On May 31, 2022, the Plaintiffs finally produced a set of invoices (without Bates numbers)
          demonstrating sales of Star Gel to grocery stores and other distributors from January 2013
          until October 19, 2015. Khaskelis Deel. Ex. 7. The Plaintiffs provided no paragraph by
          paragraph responses to the Document Requests. The Plaintiffs' covering email producing
          the above-referenced invoices stated that "[i]n response to your document requests, we do
          not have any documents to produce at this time except for the attached Star Gel® invoices
          that we were able to locate so far." Id.

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      Response: Undisputed.


      16. While many of the invoices demonstrate sales in New York, a number of the invoices
          demonstrate sales outside of this jurisdiction, including in Florida, California,
          Pennsylvania, Maryland and New Jersey. Id. All sales were to grocery stores and
          distributors serving a primarily Jewish and/or Israeli clientele. Id.
      Response: Disputed. The invoices include sales to retailers not catering primarily to Jewish
      and/or Israeli clientele, including one large supermarket chain store that serves general
      clientele. Khaskelis Deel. Ex. 7.


      17. GMIE and/or its successors in interest sold its remaining inventory of the Star Gel that it
          purchased from Meshi in or before 2012 by October 19, 2015. Id.
      Response: Disputed. This statement of fact is not supported by the evidence cited by Meshi.
      The October 19, 2015 date cited by Meshi refers to the date of the last Star Gel® invoice
      produced by Plaintiffs, not to Plaintiffs' or their predecessors' Star Gel® inventory level at that
      date. In fact, International Grooming, Inc. ("IG") had more than 1,008 units of Star Gel® in its
      inventory on October 19, 2015. Rosenshine Deel. Ex. 1, sections 17, 20, and 21.


      18. The Plaintiffs and/or their predecessors in interest sold a total of 2,131 units of Star Gel in
          and outside of New York between January 1, 2013 and October 19, 2015. Id. Pursuant to
          these invoices, the maximum sale price that the Plaintiffs and/or their predecessors in
          interest received for a single unit of Star Gel was $10. Id. Between January 1, 2013 and
          October 19, 2015, Plaintiffs earned a total revenue of $19,812 for distributing Star Gel. Id.
      Response: Disputed. Meshi only cites the invoices produced by Plaintiffs, even though there
      were additional Star Gel® sales beyond those demonstrated by the invoices, for which
      Plaintiffs could not locate the relevant invoices before the end of discovery. Khaskelis Deel.
      Ex. 7, p. 1; Rosenshine Deel. Ex. 1, sections 20-21. Furthermore, Meshi only accounts for sales
      of the Star Gel® products in calculating the total revenue earned by Plaintiffs for distributing
      Star Gel®, ignoring sales of complementary products generated by and/or dependent upon
      sales of Star Gel®, which the invoices demonstrate amount to many times more than $19,812.
      Khaskelis Deel. Ex. 7; Rosenshine Deel. Ex. 1, sections 8-13, 16, and 22.


      19. Assuming that the Plaintiffs and/or their predecessors in interest purchased Star Gel from
          Meshi for $2.45 per unit (see Exhibits 2 and 3 to Am. Compl.), it follows that, as a best-
          case scenario, the Plaintiffs and/or their predecessors in interest earned a profit of
          $14,591.05 in the nearly 3 years of selling leftover Star Gel between January 2013 and
          October 2015. Id. This figure does not deduct the amounts of Star Gel sold outside of New

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         York, does not factor in the costs of importing the Star Gel shipments from Israel to the
         United States and does not take into account any discounts offered to any of the customers,
         though some invoices indicate certain discounts. Id.
      Response: Disputed. Meshi only cites the invoices produced by Plaintiffs, even though there
      were additional Star Gel® sales beyond those demonstrated by the invoices, for which
      Plaintiffs could not locate the relevant invoices before the end of discovery. Khaskelis Deel.
      Ex. 7, p. 1; Rosenshine Deel. Ex. 1, sections 20-21. Furthermore, Meshi only accounts for sales
      of the Star Gel® products in calculating the total revenue earned by Plaintiffs for distributing
      Star Gel®, ignoring sales of complementary products generated by and/or dependent upon
      sales of Star Gel®, which the invoices demonstrate amount to many times more than $19,812.
      Khaskelis Deel. Ex. 7; Rosenshine Deel. Ex. 1, sections 8-13, 16, and 22.


      20. The Plaintiffs had no Star Gel to sell after 2015. Khaskelis Deel. Ex. 8, p. 19, lines 1-2
          ("after 2015 there is no Star Gel. So you can say from 2013 to today.")
      Response: Disputed. This statement of fact is not supported by direct evidence. Instead, it is
      Meshi' s distorted interpretation of the quoted phrase. In fact, the phrase cited by Meshi refers
      to Star Gel sales invoices that Plaintiffs were able to locate by that time (at that time, none
      were located post2015). The phrase did not in any way refer to Plaintiffs' Star Gel® inventory.
      Indeed, Plaintiffs' predecessor, IG, had more than 1,008 units of available stock for sale after
      2015. Rosenshine Deel. Ex. 1, sections 17, 20, and 21.


      21. The Plaintiffs have no additional documents responsive to the Document Requests. See the
          following exchanges:
         THE COURT: So you don't have to answer the instructions which go on for ten pages, but
         they tell you what you're supposed to give them. And then they start asking you the actual
         questions. And the documents to be produced are 1 through 20. Do you see those requests?
         MR. 0. ROSENSHINE: Yes.
         THE COURT: Have you produced all of those documents?
         MR. 0. ROSENSHINE: Yes. We went through everything. We didn't skip anything. We
         read through the entire ...
         Id. at p.18, lines 5-15.
         THE COURT: Mr. Rosenshine, have you turned over any email regarding your interest in
         Star Gel or in [sic] communications between you and your predecessors or any third
         parties? Have you turned over any email, sir?
         MR. A. ROSENSHINE: We recited we do not have any. So as we said, we do not have
         any other documents whatever they requested.

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         Id. at p. 26, lines 8-14.
         THE COURT: You've stated on the record that you've given them everything you have.
         You have nothing else. Which means that you will not be able to produce something and
         surprise them. Do you understand that, Mr. Oren Rosenshine?
         MR. 0. ROSENSHINE: Yes. I just want to clarify --
         THE COURT: Do you understand that, Mr. --excuse me. Do you understand that, Mr. Amir
         Rosenshine?
         MR. A. ROSENSHINE: Yes.
         Id. at p. 31, lines 9-18.
      Response: Disputed. Plaintiffs have no additional documents responsive to the Documents
      Requests because they could not locate any additional documents before the end of discovery,
      not because such documents never existed. Indeed, there were additional sales of Star Gel® by
      Plaintiffs' predecessors between the years 2013 and 2015, beyond those documented in the
      produced invoices, as well as sales of Star Gel® by Plaintiffs' predecessors after 2015.
      Plaintiffs could not locate the invoices for those sales before the end of discovery. Rosenshine
      Deel. Ex. 1, sections 20-21.


      22. The Plaintiffs took no steps to obtain any additional supplies of Star Gel hair gel after 2012.
          See, e.g., Khaskelis Deel. Ex. 5 ,r,r 3, 5, 6, 7, 182; Khaskelis Deel. Ex. 7.
      Response: Disputed. Plaintiffs had plenty of Star Gel inventory after 2012, so no additional
      supplies were needed to be obtained, as demonstrated by the Star Gel® sales documented by
      invoices Plaintiffs produced. Khaskelis Deel. Ex. 7.


      23. The Plaintiffs did not pay off their outstanding arrears to Meshi in the amount of$1,967.64
          for Star Gel purchased in 2012. Khaskelis Deel. Ex. 5 ,r 16; Khaskelis Deel. Ex. 7.
      Response: Disputed. Khaskelis Deel. Ex. 4 shows an opening balance of $1,963.12 from the
      date of 01/01/2012, which proves that the source of this alleged open balance was not
      Plaintiffs' and/or their predecessors' 2012 Star Gel® orders. In fact, the opening balance
      originates from the failure of Meshi to credit GMIE's account for defective Star Gel® units
      that GMIE received from Meshi prior to 2012. Rosenshine Deel. Ex. 1, sections 25-26.


      24. The Plaintiffs did not market, attempt to sell or sell Star Gel from October 2015 until March
          2022. Khaskelis Deel. Ex. 5 ,r,r 1, 2, 3, 4, 5, 18; Khaskelis Deel. Ex. 7.
      Response: Disputed. This statement of fact is not supported by the evidence cited by Meshi.
      The evidence cited by Meshi only shows the invoices produced by Plaintiffs, even though there

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      were additional Star Gel® sales beyond those demonstrated by the invoices, for which
      Plaintiffs could not locate the relevant invoices before the end of discovery. Furthermore, the
      evidence Meshi cites only shows actual Star Gel® sales, so it cannot establish a lack of attempts
      to market or sell Star Gel®. Indeed, there were additional sales of Star Gel® by Plaintiffs'
      predecessors between the years 2013 and 2015, beyond those documented in the produced
      invoices, as well as sales of Star Gel® by Plaintiffs' predecessors after 2015. Furthermore,
      attempts to sell Star Gel® never ceased and continue by IG to this day. Rosenshine Deel. Ex.
      1, sections 13-21.


      25. The Plaintiffs did not utilize the Star Gel mark in any manner between October 2015 and
          May 2017. Khaskelis Deel. Ex. 5 ,r 18; Khaskelis Deel. Ex. 7.
      Response: Disputed. This statement of fact is not supported by the evidence cited by Meshi.
      The evidence cited by Meshi only shows the invoices produced by Plaintiffs, even though there
      were additional Star Gel® sales beyond those demonstrated by the invoices, for which
      Plaintiffs could not locate the relevant invoices before the end of discovery. Furthermore, the
      evidence Meshi cites only shows actual Star Gel® sales, so it cannot establish a lack of attempts
      to market or sell Star Gel®, or a lack of utilization of the Star Gel® trademark by Plaintiffs or
      their predecessors. Indeed, there were additional sales of Star Gel® by Plaintiffs' predecessors
      between the years 2013 and 2015, beyond those documented in the produced invoices, as well
      as sales of Star Gel® by Plaintiffs' predecessors after 2015. Furthermore, attempts to sell Star
      Gel® never ceased and continue by IG to this day, which constitute an uninterrupted utilization
      of the Star Gel® mark. Rosenshine Deel. Ex. 1, sections 13-21.


      26. Neither the Plaintiffs nor their predecessors in interest sourced or attempted to market or
          sell any Star Gel since October 19, 2015. See ,r,r 17, 20-25, above.
      Response: Disputed. This statement of fact is not supported by the evidence cited by Meshi.
      There were additional Star Gel® sales beyond those demonstrated by the invoices produced
      by Plaintiffs, for which Plaintiffs could not locate the relevant invoices before the end of
      discovery. Furthermore, the invoices Plaintiffs produced only show actual Star Gel® sales, so
      they cannot establish a lack of attempts to market, sell, or source Star Gel®. Indeed, there were
      additional sales of Star Gel® by Plaintiffs' predecessors between the years 2013 and 2015,
      beyond those documented in the produced invoices, as well as sales of Star Gel® by Plaintiffs'
      predecessors after 2015. Furthermore, attempts to sell Star Gel® never ceased and continue by
      IG to this day, which constitute an uninterrupted utilization of the Star Gel® mark. IG had no
      need to source Star Gel® as it had more than 1,008 units of available stock for sale after 2015.
      Rampant counterfeiting by Meshi, A to Z Import Inc. ("AZ"), and Mr. Eyal Noach ("Mr.
      Noach") (collectively, "Defendants") continues to this day, precluding any genuine Star Gel®
      sales, never mind the need to source additional stock. Rosenshine Deel. Ex. 1, sections 13-21.



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      27. Meshi did not sell any Star Gel following 2012 and until it was approached by Eyal Noach
          ("Mr. Noach") of A to Z Imports Inc. ("A to Z") in the fall of 2016. Khaskelis Deel. Ex. 1
          ,r,r 33, 35.
      Response: Disputed. Meshi approached Mr. Noach before the fall of 2016. Toward the end of
      2015, Mr. Noach told IG that he "finally found the manufacturer of Star Gel®" and that AZ
      "will now be buying Star Gel® directly from the manufacturer" at a much lower price than
      IG's pricing. AZ then proceeded to solicit orders for Star Gel® and complementary products
      from numerous of IG's customers, offering them a lower price point for Star Gel® and
      diverting both Star Gel® sales and sales of complementary products from IG. On September
      15, 2016, Mr. Yermi Mizrahi ("Mr. Mizrahi") wrote to Mr. Noach as follows: "It was nice
      talking to you over the phone and I hope we can do business together". This further proves that
      there was contact between Mr. Mizrahi and Mr. Noach prior to the fall of 2016. All of the
      above proves that Meshi has been actively deceiving I G's numerous U.S. customers, including
      AZ and Mr. Noach, by approaching them, offering them, and selling them counterfeit Star
      Gel® merchandise. Rosenshine Deel. Ex. 1, sections 13, 36, 38, 96, and 99; Rosenshine Deel.
      Ex. 2, page 1.



      28. Mr. Noach was looking for the manufacturer of Star Gel and seeking to place an order. Id.
          at ,r 35.

      Response: Disputed. It was Meshi who was looking to sell counterfeit Star Gel® to Plaintiffs'
      customer AZ. Toward the end of 2015, Mr. Noach told IG that he "finally found the
      manufacturer of Star Gel®" and that AZ "will now be buying Star Gel® directly from the
      manufacturer" at a much lower price than IG's pricing. AZ then proceeded to solicit orders for
      Star Gel® and complementary products from numerous of IG's customers, offering them a
      lower price point for Star Gel® and diverting both Star Gel® sales and sales of complementary
      products from IG. On September 15, 2016, Mr. Mizrahi wrote to Mr. Noach as follows: "It
      was nice talking to you over the phone and I hope we can do business together". All of the
      above proves that Meshi has been actively deceiving IG's numerous U.S. customers, including
      AZ and Mr. Noach, by approaching them, offering them, and selling them counterfeit Star
      Gel® merchandise. Rosenshine Deel. Ex. 1, sections 13, 36, 38, 96, and 99; Rosenshine Deel.
      Ex. 2, page 1.



      29. It was Mr. Noach who initiated the contact with Meshi's Mr. Mizrahi. Id.

      Response: Disputed. It was Meshi who initiated the contact with AZ. Rosenshine Deel. Ex. 1,
      sections 13, 36, 38, 96, and 99; Rosenshine Deel. Ex. 2.




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      30. Before that call, Meshi had no distributorship arrangement or any relationship whatsoever
          with A to Z. Id. at ,r 34. Meshi has had no relationship with A to Z since that one-time sale.
          Id.

      Response: Disputed. Plaintiffs strongly believe that Meshi sold many more counterfeit Star
      Gel® units than the 3,600 counterfeit units it admitted to selling back in 2016, based on the
      widespread Star Gel® counterfeiting that persists in the marketplace until this present day,
      many years after Meshi's said 2016 sale, as well as on GMIE's past purchases of Star Gel®
      from Meshi, which amounted to approximately $10,000 worth of Star Gel® products on an
      annual basis between 2004 and 2012 (around 4,082 units per year at a price of $2.45 per unit),
      as declared by Meshi. As of 2022, six years have passed since the counterfeiting sale Meshi
      admitted to committing in 2016. At a rate of 4,082 units per year, it stands to reason that a
      quantity of at least 24,492 counterfeit units of Star Gel® were sold by Meshi to date, given
      that the market is currently saturated with counterfeit Star Gel® merchandise. The quantity of
      3,600 that Meshi admits to have counterfeited seems unrealistically low by comparison. Meshi
      has had further communications with AZ after 2016, including in 2018, demonstrating a
      continuing business relationship with AZ. Khaskelis Deel. Ex. 1, section 30; Rosenshine Deel.
      Ex. 1, sections 13-19 and 24; Rosenshine Deel. Ex. 2, pages 15-17.


      31. At that point, Meshi has had no commercial dealings with GMIE or its successors in interest
          for approximately four years. Id. at ,r 31.
      Response: Disputed. At that point, the agreement between Meshi and GMIE or its successors
      was still in force, as the agreement grants GMIE exclusivity on the Star Gel® mark with no
      time limit. Am. Compl. Exs. 2 & 3, ,r 7.


      32. At that point, approximately a year passed since GMIE or its successors in interest took
          any steps to source, advertise or sell Star Gel. Khaskelis Deel. Ex. 7.

      Response: Disputed. This statement of fact is not supported by the evidence cited by Meshi.
      The evidence cited by Meshi only shows the invoices produced by Plaintiffs, even though there
      were additional Star Gel® sales beyond those demonstrated by the invoices, for which
      Plaintiffs could not locate the relevant invoices before the end of discovery. Furthermore, the
      evidence Meshi cites only shows actual Star Gel® sales, so it cannot establish a lack of attempts
      to market, sell, or source Star Gel®. Indeed, there were additional sales of Star Gel® by
      Plaintiffs' predecessors between the years 2013 and 2015, beyond those documented in the
      produced invoices, as well as sales of Star Gel® by Plaintiffs' predecessors after 2015.
      Furthermore, attempts to sell Star Gel® never ceased and continue by IG to this day, which
      constitute an uninterrupted utilization of the Star Gel® mark. IG had no need to source Star
      Gel® as it had more than 1,008 units of available stock for sale after 2015. Rampant
      counterfeiting by Defendants continues to this day, precluding any genuine Star Gel® sales,
      never mind the need to source additional stock. Rosenshine Deel. Ex. 1, sections 13-21.


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      33. A to Z was a client of GMIE and/or its successors in interest. A to Z purchased 240 units
          of Star Gel of the 2,131 total units sold by the Plaintiffs' predecessors in interest between
          January 2013 and October 2015, which amounted to 11% of its total sales. Id. (calculated
          from invoices supplied).
      Response: Disputed. The evidence cited by Meshi only shows the invoices produced by
      Plaintiffs, even though there were additional Star Gel® sales beyond those demonstrated by
      the invoices, for which Plaintiffs could not locate the relevant invoices before the end of
      discovery. Indeed, there were additional sales of Star Gel® by Plaintiffs' predecessors between
      the years 2013 and 2015, beyond those documented in the produced invoices, as well as sales
      of Star Gel® by Plaintiffs' predecessors after 2015. Once AZ received counterfeit Star Gel®
      merchandise from Meshi, it was able to undercut IG on price, divert sales from I G's customers
      to itself, and drive the genuine Star Gel® products out of the market. Rosenshine Deel. Ex. 1,
      sections 13-21.


      34. Meshi made a one-time sale of Star Gel to A to Zin November 2016 in the amount of3,600
          units, for a price of $3/unit. The total value of that sale was $10,800. Khaskelis Deel. Ex.
          1 ,r 36; Khaskelis Deel. Ex. 9.
      Response: Disputed. Meshi's counterfeiting was ongoing past November 2016, as
      demonstrated by online listings of Meshi's counterfeit Star Gel® products. Plaintiffs strongly
      believe that Meshi sold many more counterfeit Star Gel® units than the 3,600 counterfeit units
      it admitted to selling back in 2016, based on the widespread Star Gel® counterfeiting that
      persists in the marketplace until this present day, many years after Meshi's said 2016 sale, as
      well as on GMIE's past purchases of Star Gel® from Meshi, which amounted to approximately
      $10,000 worth of Star Gel® products on an annual basis between2004 and 2012 (around 4,082
      units per year at a price of $2.45 per unit), as declared by Meshi. As of 2022, six years have
      passed since the counterfeiting sale Meshi admitted to committing in 2016. At a rate of 4,082
      units per year, it stands to reason that a quantity of at least 24,492 counterfeit units of Star
      Gel® were sold by Meshi to date, given that the market is currently saturated with counterfeit
      Star Gel® merchandise. The quantity of 3,600 that Meshi admits to have counterfeited seems
      unrealistically low by comparison. Meshi has had further communications with AZ after 2016,
      including in 2018, demonstrating a continuing business relationship with AZ. Khaskelis Deel.
      Ex. 1, section 30; Khaskelis Deel. Ex. 10, pages 22-31; Rosenshine Deel. Ex. 1, sections 13-
      19 and 24; Rosenshine Deel. Ex. 2, pages 15-17.


      35. A to Z supplied the artwork for the label for the product, which listed A to Z's address.
          Khaskelis Deel. Ex. 1 ,r 43 & Exhibit 5 to Am. Compl. Meshi was not involved in the
          creation or choice of the label. Khaskelis Deel. Ex. 1 ,r 43.



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      Response: Disputed. Meshi supplied Plaintiffs' Star Gel® artwork for producing the label of
      the counterfeit Star Gel® products to AZ. Mr. Mizrahi wrote to Mr. Noach, " ... attached is one
      of the versions". Rosenshine Deel. Ex. 2, pages 1 and 17.


      36. Meshi has only ever sold any Star Gel to GMIE and A to Z. Id. at ,r 21.
      Response: Disputed. Plaintiffs strongly believe that Meshi sold many more counterfeit Star
      Gel® units than the 3,600 counterfeit units it admitted to selling back in 2016, based on the
      widespread Star Gel® counterfeiting that persists in the marketplace until this present day,
      many years after Meshi's said 2016 sale, as well as on GMIE's past purchases of Star Gel®
      from Meshi, which amounted to approximately $10,000 worth of Star Gel® products on an
      annual basis between 2004 and 2012 (around 4,082 units per year at a price of $2.45 per unit),
      as declared by Meshi. As of 2022, six years have passed since the counterfeiting sale Meshi
      admitted to committing in 2016. At a rate of 4,082 units per year, it stands to reason that a
      quantity of at least 24,492 counterfeit units of Star Gel® were sold by Meshi to date, given
      that the market is currently saturated with counterfeit Star Gel® merchandise. The quantity of
      3,600 that Meshi admits to have counterfeited seems unrealistically low by comparison.
      Khaskelis Deel. Ex. 1, section 30; Rosenshine Deel. Ex. 1, sections 13-19 and 24.


      37. Meshi has not sold any Star Gel to anyone in the United States following the one-time sale
          to A to Zin November 2016. Id. at ,r,r 21, 22, 50.
      Response: Disputed. Meshi's counterfeiting was ongoing past November 2016, as
      demonstrated by online listings of Meshi's counterfeit Star Gel® products. Plaintiffs strongly
      believe that Meshi sold many more counterfeit Star Gel® units than the 3,600 counterfeit units
      it admitted to selling back in 2016, based on the widespread Star Gel® counterfeiting that
      persists in the marketplace until this present day, many years after Meshi's said 2016 sale, as
      well as on GMIE's past purchases of Star Gel® from Meshi, which amounted to approximately
      $10,000 worth of Star Gel® products on an annual basis between2004 and 2012 (around 4,082
      units per year at a price of $2.45 per unit), as declared by Meshi. As of 2022, six years have
      passed since the counterfeiting sale Meshi admitted to committing in 2016. At a rate of 4,082
      units per year, it stands to reason that a quantity of at least 24,492 counterfeit units of Star
      Gel® were sold by Meshi to date, given that the market is currently saturated with counterfeit
      Star Gel® merchandise. The quantity of 3,600 that Meshi admits to have counterfeited seems
      unrealistically low by comparison. Meshi has had further communications with AZ after 2016,
      including in 2018, demonstrating a continuing business relationship with AZ. Khaskelis Deel.
      Ex. 1, section 30; Khaskelis Deel. Ex. 10, pages 22-31; Rosenshine Deel. Ex. 1, sections 13-
      19 and 24; Rosenshine Deel. Ex. 2, pages 15-17.




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      38. Meshi has taken no steps to advertise, promote or otherwise attempt to sell any Star Gel
          anywhere in the United States following the one-time sale to A to Zin November 2016. Id.
          at ,r,r 23-24.
      Response: Disputed. Meshi's counterfeiting was ongoing past November 2016, as
      demonstrated by online listings of Meshi's counterfeit Star Gel® products. Plaintiffs strongly
      believe that Meshi sold many more counterfeit Star Gel® units than the 3,600 counterfeit units
      it admitted to selling back in 2016, based on the widespread Star Gel® counterfeiting that
      persists in the marketplace until this present day, many years after Meshi's said 2016 sale, as
      well as on GMIE's past purchases of Star Gel® from Meshi, which amounted to approximately
      $10,000 worth of Star Gel® products on an annual basis between2004 and 2012 (around 4,082
      units per year at a price of $2.45 per unit), as declared by Meshi. As of 2022, six years have
      passed since the counterfeiting sale Meshi admitted to committing in 2016. At a rate of 4,082
      units per year, it stands to reason that a quantity of at least 24,492 counterfeit units of Star
      Gel® were sold by Meshi to date, given that the market is currently saturated with counterfeit
      Star Gel® merchandise. The quantity of 3,600 that Meshi admits to have counterfeited seems
      unrealistically low by comparison. Meshi has had further communications with AZ after 2016,
      including in 2018, demonstrating a continuing business relationship with AZ. Khaskelis Deel.
      Ex. 1, section 30; Khaskelis Deel. Ex. 10, pages 22-31; Rosenshine Deel. Ex. 1, sections 13-
      19 and 24; Rosenshine Deel. Ex. 2, pages 15-17.


      39. On May 9, 2017, the Plaintiffs' predecessors in interests applied to the United States Patent
          and Trademark Office to register the Star Gel mark for the first time. The United States
          Patent and Trademark Office registered the Star Gel trademark on December 19, 2017.
          Am. Compl. Ex. 6.
      Response: Undisputed.


      40. The Plaintiffs allege that they sent a cease and desist letter to Meshi on June 20, 2017. Am.
          Compl. ,r 12. The Plaintiffs and/or their predecessors in interest sent no other
          correspondence to Meshi with regard to the A to Z sale prior to that date. Khaskelis Deel.
          Ex. 5 ,r 15; Khaskelis Deel. Ex. 7.
      Response: Undisputed.


      41. Meshi has not engaged in any conduct outlined in the Amended Complaint since November
          2016. Khaskelis Deel. Ex. 5 ,r 17; Khaskelis Deel. Ex. 7.
      Response: Disputed. Meshi's counterfeiting was ongoing past November 2016, as
      demonstrated by online listings of Meshi's counterfeit Star Gel® products. Plaintiffs strongly
      believe that Meshi sold many more counterfeit Star Gel® units than the 3,600 counterfeit units
      it admitted to selling back in 2016, based on the widespread Star Gel® counterfeiting that

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      persists in the marketplace until this present day, many years after Meshi's said 2016 sale, as
      well as on GMIE's past purchases of Star Gel® from Meshi, which amounted to approximately
      $10,000 worth of Star Gel® products on an annual basis between2004 and 2012 (around 4,082
      units per year at a price of $2.45 per unit), as declared by Meshi. As of 2022, six years have
      passed since the counterfeiting sale Meshi admitted to committing in 2016. At a rate of 4,082
      units per year, it stands to reason that a quantity of at least 24,492 counterfeit units of Star
      Gel® were sold by Meshi to date, given that the market is currently saturated with counterfeit
      Star Gel® merchandise. The quantity of 3,600 that Meshi admits to have counterfeited seems
      unrealistically low by comparison. Meshi has had further communications with AZ after 2016,
      including in 2018, demonstrating a continuing business relationship with AZ. Khaskelis Deel.
      Ex. 1, section 30; Khaskelis Deel. Ex. 10, pages 22-31; Rosenshine Deel. Ex. 1, sections 13-
      19 and 24; Rosenshine Deel. Ex. 2, pages 15-17.


      42. Since applying to register the Star Gel mark with the United States Patent and Trademark
          Office, the Plaintiffs have neither sourced, marketed, attempted to sell or sold any Star Gel.
          Khaskelis Deel. Ex. 5 ,r,r 1, 2, 3, 4, 5, 6, 7, 18; Khaskelis Deel. Ex. 7.
      Response: Disputed. This statement of fact is not supported by the evidence cited by Meshi.
      The evidence cited by Meshi only shows the invoices produced by Plaintiffs, even though there
      were additional Star Gel® sales beyond those demonstrated by the invoices, for which
      Plaintiffs could not locate the relevant invoices before the end of discovery. Furthermore, the
      evidence Meshi cites only shows actual Star Gel® sales, so it cannot establish a lack of attempts
      to market, sell, or source Star Gel®. Indeed, there were additional sales of Star Gel® by
      Plaintiffs' predecessors between the years 2013 and 2015, beyond those documented in the
      produced invoices, as well as sales of Star Gel® by Plaintiffs' predecessors after 2015,
      including after 2017. Furthermore, attempts to sell Star Gel® never ceased and continue by IG
      to this day, which constitute an uninterrupted utilization of the Star Gel® mark. IG had no need
      to source Star Gel® as it had more than 1,008 units of available stock for sale after 2015.
      Rampant counterfeiting by Defendants continues to this day, precluding any genuine Star Gel®
      sales, never mind the need to source additional stock. Rosenshine Deel. Ex. 1, sections 13-21.


      43. On December 14, 2020, the Plaintiffs served on Meshi's attorneys what they termed to be
          their disclosures. Khaskelis Deel. Ex. 10 (ECF No. 82-3), p. 2.

      Response: Undisputed.


      44. In these disclosures, the Plaintiffs provided the Declarations of Oren and Amir Rosenshine.
          Id. at pp. 6-15. Both declarations are dated December 10, 2020, are materially identical to
          one another and contain statements confirming that their contents are true and correct to
          the best of each Plaintiffs knowledge, information and belief under the penalty of perjury.
          Id. at pp.10, 15.

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      Response: Undisputed.


      45. Each of these declarations asserts the Plaintiffs' entitlement for lost profits in the amount
          of $8,567,848, which, once trebled, entitle the Plaintiffs to the recovery of$25,703,544 in
          damages. Id. at pp. 9, 14.
      Response: Disputed. The amounts cited by Meshi refer only to "lost profits resulting from said
      counterfeiting, including compensatory damages for lost profits on sales of Star Gel®,
      consequential damages for lost profits on sales of complementary products, and damages to
      goodwill and reputation". Other types of damages are detailed in the declarations. Khaskelis
      Deel. Ex. 10, pages 9-10 and 14-15.


      46. Alongside these declarations, on December 14, 2020 the Plaintiffs supplied a one-page
          table, entitled "Computation of Lost Profits and Damages to Goodwill and Reputation"
          purporting to calculate these figures from 2015 until 2020 and beyond through a variety of
          compounding assumptions. Id. at p. 16. The Plaintiffs provided no basis for the calculations
          provided or the reasoning for their compounding assumptions.
      Response: Disputed. Plaintiffs provided the basis for the calculations and outlined all
      assumptions. Khaskelis Deel. Ex. 10, page 16; Rosenshine Deel. Ex. 1, sections 22-23.


      47. The damages figures that the Plaintiffs provided in the above-referenced are not limited to
          losses from the alleged Star Gel counterfeiting:
         MR. A. ROSENSHINE: We did not show from 2015. We showed them from 2013 to 2015
         just to start this. But these gross profits represent the entire gross profits of the company
         not just from the Star Gel because we are claiming that the Star Gel allows our company
         to sell to

         THE COURT: But Mr. Rosenshine, this case is just about Star Gel, correct?
         MR. A. ROSENSHINE: Yes. The damages that Star Gel counterfeiting caused us.
         So it includes also complementary --

         THE COURT: So you're saying that this chart, even though the chart would not prove
         anything, is not just related to Star Gel?
         MR. A. ROSENSHINE: It is because what we are claiming is that all the complementary
         products that we sell to our customers by Star Gel has been also lost to A. Meshi because
         we couldn't --
         THE COURT: Again sir, I only deal with the case that was filed in court. I don't deal with
         other concerns or issues that you have that are not part of this case.

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         MR. A. ROSENSHINE: Yes. So our calculation of damages in the complaint also explains
         that we are not only claiming damages for losses of Star Gel but also complementary
         products that --
         THE COURT: Again, Mr. Rosenshine, your case here is about Star Gel.
         Khaskelis Deel. Ex. 8, p. 15, line 20-p.16, line 22.
      Response: Disputed. Meshi's counterfeiting of Star Gel® resulted in losses to Plaintiffs that
      consist of lost sales of Star Gel® products and lost sales of complementary products, among
      other losses. Meshi' s counterfeiting caused both a diversion of sales of Star Gel® products and
      a diversion of sales of complementary products from Plaintiffs or their predecessors to others,
      including Meshi and AZ. Rosenshine Deel. Ex. 1, sections 8-19 and 22.


      48. As demonstrated above, the Plaintiffs have neither sourced, sold, or attempted to sell any
          Star Gel since October 2015. They were not marketing or attempting to sell any Star Gel
          to anyone in the fall of 2016, when Meshi made a one-time sale of 3,600 units of Star Gel
          to A to Z. Khaskelis Deel. Ex. 5 ,r,r 1, 2, 3, 4, 5, 6, 7, 18; Khaskelis Deel. Ex. 7.
      Response: Disputed. This statement of fact is not supported by the evidence cited by Meshi.
      The evidence cited by Meshi only shows the invoices produced by Plaintiffs, even though there
      were additional Star Gel® sales beyond those demonstrated by the invoices, for which
      Plaintiffs could not locate the relevant invoices before the end of discovery. Furthermore, the
      evidence Meshi cites only shows actual Star Gel® sales, so it cannot establish a lack of attempts
      to market, sell, or source Star Gel®. Indeed, there were additional sales of Star Gel® by
      Plaintiffs' predecessors between the years 2013 and 2015, beyond those documented in the
      produced invoices, as well as sales of Star Gel® by Plaintiffs' predecessors after 2015.
      Furthermore, attempts to sell Star Gel® never ceased and continue by IG to this day, which
      constitute an uninterrupted utilization of the Star Gel® mark. IG had no need to source Star
      Gel® as it had more than 1,008 units of available stock for sale after 2015. Rampant
      counterfeiting by Defendants continues to this day, precluding any genuine Star Gel® sales,
      never mind the need to source additional stock. Rosenshine Deel. Ex. 1, sections 13-21.


      49. As such, Meshi's one-time sale could not have caused any harm to the Plaintiffs' Star Gel
          sales, which were already non-existent. Id.
      Response: Disputed. This statement of fact is not supported by the evidence cited by Meshi.
      The invoices produced by Plaintiffs demonstrate that Plaintiffs' predecessors had plenty of Star
      Gel® sales within the three years prior to Meshi's 2016 sale of counterfeit Star Gel®, leading
      to the unavoidable conclusion that Meshi diverted Star Gel® sales and sales of complementary
      products from Plaintiffs or their predecessors to itself and AZ. There were additional Star Gel®
      sales beyond those demonstrated by the invoices, for which Plaintiffs could not locate the
      relevant invoices before the end of discovery. Furthermore, the invoices only show actual Star
      Gel® sales, so they cannot establish a lack of attempts to market, sell, or source Star Gel®.

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      Indeed, there were additional sales of Star Gel® by Plaintiffs' predecessors between the years
      2013 and 2015, beyond those documented in the produced invoices, as well as sales of Star
      Gel® by Plaintiffs' predecessors after 2015. Furthermore, attempts to sell Star Gel® never
      ceased and continue by IG to this day, which constitute an uninterrupted utilization of the Star
      Gel® mark. IG had no need to source Star Gel® as it had more than 1,008 units of available
      stock for sale after 2015. Rampant counterfeiting by Defendants continues to this day,
      precluding any genuine Star Gel® sales, never mind the need to source additional stock.
      Khaskelis Deel. Ex. 7; Rosenshine Deel. Ex. 1, sections 13-21.


      50. Consequently, the Plaintiffs' damages claims arise out of the harm that Meshi's one-time
          sale of Star Gel to A to Z allegedly caused to the sales of other, unspecified products in the
          Plaintiffs' sales catalogue. Id.
      Response: Disputed. Meshi's counterfeiting of Star Gel® resulted in losses to Plaintiffs that
      consist of lost sales of Star Gel® products and lost sales of complementary products, among
      other losses. Meshi' s counterfeiting caused both a diversion of sales of Star Gel® products and
      a diversion of sales of complementary products from Plaintiffs or their predecessors to others,
      including Meshi and AZ. Plaintiffs strongly believe that Meshi sold many more counterfeit
      Star Gel® units than the 3,600 counterfeit units it admitted to selling back in 2016, based on
      the widespread Star Gel® counterfeiting that persists in the marketplace until this present day,
      many years after Meshi's said 2016 sale, as well as on GMIE's past purchases of Star Gel®
      from Meshi, which amounted to approximately $10,000 worth of Star Gel® products on an
      annual basis between 2004 and 2012 (around 4,082 units per year at a price of $2.45 per unit),
      as declared by Meshi. As of 2022, six years have passed since the counterfeiting sale Meshi
      admitted to committing in 2016. At a rate of 4,082 units per year, it stands to reason that a
      quantity of at least 24,492 counterfeit units of Star Gel® were sold by Meshi to date, given
      that the market is currently saturated with counterfeit Star Gel® merchandise. The quantity of
      3,600 that Meshi admits to have counterfeited seems unrealistically low by comparison. Meshi
      has had further communications with AZ after 2016, including in 2018, demonstrating a
      continuing business relationship with AZ. Khaskelis Deel. Ex. 1, section 30; Rosenshine Deel.
      Ex. 1, sections 8-19, 22, and 24; Rosenshine Deel. Ex. 2, pages 15-17.


      51. Besides the above-referenced one-page table, the Plaintiffs have produced no evidence of
          any harm they suffered as a result ofMeshi's one-time sale of 3,600 units of Star Gel to A
          to Zin November 2016. Khaskelis Deel. Ex. 5 ,r,r 4, 8, 11, 14, 19; Khaskelis Deel. Ex. 7.
      Response: Disputed. Plaintiffs produced plenty of evidence of the harm they suffered as a
      result ofMeshi's counterfeiting, beyond the above-referenced table. Plaintiffs strongly believe
      that Meshi sold many more counterfeit Star Gel® units than the 3,600 counterfeit units it
      admitted to selling back in 2016, based on the widespread Star Gel® counterfeiting that persists
      in the marketplace until this present day, many years after Meshi' s said 2016 sale, as well as
      on GMIE's past purchases of Star Gel® from Meshi, which amounted to approximately
      $10,000 worth of Star Gel® products on an annual basis between2004 and 2012 (around 4,082
      units per year at a price of $2.45 per unit), as declared by Meshi. As of 2022, six years have

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      passed since the counterfeiting sale Meshi admitted to committing in 2016. At a rate of 4,082
      units per year, it stands to reason that a quantity of at least 24,492 counterfeit units of Star
      Gel® were sold by Meshi to date, given that the market is currently saturated with counterfeit
      Star Gel® merchandise. The quantity of 3,600 that Meshi admits to have counterfeited seems
      unrealistically low by comparison. Meshi has had further communications with AZ after 2016,
      including in 2018, demonstrating a continuing business relationship with AZ. Khaskelis Deel.
      Ex. 1, section 30; Khaskelis Deel. Ex. 10, sections 21-27 in pages 8-9, sections 21-27 in pages
      13-14, and pages 22-31; Rosenshine Deel. Ex. 1, sections 8-19 and 22-24; Rosenshine Deel.
      Ex. 2, pages 15-17.


      52. The Plaintiffs failed to establish any connection between Meshi's one-time sale of 3,600
          units of Star Gel to A to Z in November 2016 and losses to any other product sales,
          reputational damage, harm to goodwill, consumer confusion or general harm to the
          Plaintiffs' profits. Id.
      Response: Disputed. Plaintiffs established a direct connection between Meshi's Star Gel®
      counterfeiting and losses of other product sales, reputational damage, harm to goodwill,
      consumer confusion, and general harm to Plaintiffs' profits. Plaintiffs produced plenty of
      evidence of the harm they suffered as a result of Meshi's counterfeiting. Plaintiffs strongly
      believe that Meshi sold many more counterfeit Star Gel® units than the 3,600 counterfeit units
      it admitted to selling back in 2016, based on the widespread Star Gel® counterfeiting that
      persists in the marketplace until this present day, many years after Meshi's said 2016 sale, as
      well as on GMIE's past purchases of Star Gel® from Meshi, which amounted to approximately
      $10,000 worth of Star Gel® products on an annual basis between2004 and 2012 (around 4,082
      units per year at a price of $2.45 per unit), as declared by Meshi. As of 2022, six years have
      passed since the counterfeiting sale Meshi admitted to committing in 2016. At a rate of 4,082
      units per year, it stands to reason that a quantity of at least 24,492 counterfeit units of Star
      Gel® were sold by Meshi to date, given that the market is currently saturated with counterfeit
      Star Gel® merchandise. The quantity of 3,600 that Meshi admits to have counterfeited seems
      unrealistically low by comparison. Meshi has had further communications with AZ after 2016,
      including in 2018, demonstrating a continuing business relationship with AZ. Khaskelis Deel.
      Ex. 1, section 30; Khaskelis Deel. Ex. 10, sections 21-27 in pages 8-9, sections 21-27 in pages
      13-14, page 16, and pages 22-31; Rosenshine Deel. Ex. 1, sections 8-19 and 22-24; Rosenshine
      Deel. Ex. 2, pages 15-17.


      53. The Plaintiffs failed to show any reputational damage, consumer confusion, harm to
          goodwill or loss of Star Gel sales from October 2015 until March 2022. Id.
      Response: Disputed. Plaintiffs established a direct connection between Meshi's Star Gel®
      counterfeiting and reputational damage, consumer confusion, harm to goodwill, and loss of
      Star Gel® sales from October 2015 until March 2022, among other damages. Plaintiffs
      produced plenty of evidence of the harm they suffered as a result of Meshi's counterfeiting.

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      Am. Compl. Ex. 5; Khaskelis Deel. Ex. 9; Khaskelis Deel. Ex. 10, sections 21-27 in pages 8-
      9, sections 21-27 in pages 13-14, page 16, and pages 22-31; Rosenshine Deel. Ex. 1, sections
      8-19 and 22-24.


      54. The Plaintiffs failed to show any harm to the sales of any other of their products. Id.
      Response: Disputed. Plaintiffs established a direct connection between Meshi's Star Gel®
      counterfeiting and losses of other product sales and general harm to Plaintiffs' profits, among
      other damages. Plaintiffs produced plenty of evidence of the harm they suffered as a result of
      Meshi's counterfeiting. Khaskelis Deel. Ex. 10, sections 21-27 in pages 8-9, sections 21-27 in
      pages 13-14, and page 16; Rosenshine Deel. Ex. 1, sections 8-19 and 22-24.


      55. The Plaintiffs failed to show that Star Gel was a famous or widely-recognized product. Id.
      Response: Disputed. Plaintiffs established that Star Gel® is a famous and widely-recognized
      brand that is sold nationwide. Khaskelis Deel. Ex. 7. Rosenshine Deel. Ex. 1, sections 8-13,
      23-24, 45, 48, 78, and 80-85.


      56. The Plaintiffs produced no expert testimony in the matter. Khaskelis Deel. Ex. 7.
      Response: Disputed. This statement of fact is not supported by the evidence cited by Meshi.
      Section 4 of Rosenshine Deel. Ex. 1 clearly states the qualifications of the declarant as an
      expert, qualifying him as an expert in the matter. Khaskelis Deel. Ex. 10, page 16; Rosenshine
      Deel. Ex. 1.


      57. Pursuant to Judge Bloom's June 9, 2022 Order (ECF No. 89), all discovery in the matter is
          now closed.
      Response: Undisputed to the extent the order speaks for itself.


      58. On June 21, 2022, Meshi made an Offer of Judgment to the Plaintiffs in the amount of
          $5,000 pursuant to Rule 68 of the Federal Rules of Civil Procedure. Khaskelis Deel. Ex.
          11. Meshi received no response to this offer within the timeframe specified therein. As
          such, this offer is deemed rejected.
      Response: Undisputed.




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                      PLAINTIFFS' STATEMENT OF ADDITIONAL FACTS



      1. Plaintiffs are the exclusive owners of the Star Gel® trademark. Am. Compl. Ex. 8.


      2. On December 14, 2020, Plaintiffs served Meshi with formal requests for the production of
         documents ("Document Requests"). While the requests speak for themselves, they sought
         to establish the record of all sales of Star Gel® that Meshi undertook to any party aside
         from Plaintiffs or their predecessors, as well as all materials, including but not limited to,
         communications, documents, invoices, agreements, recordings, written correspondence
         such as emails/texts, etc., in Meshi's possession, custody, or control relating to all sales of
         Star Gel® ever made by Meshi to any other party besides Plaintiffs or their predecessors.
         Khaskelis Deel. Ex. 10, page 2.

      3. The requests also asked to provide the ownership structure of Meshi, including all
         shareholders and their stakes in the company, directors, and executive managers. Khaskelis
         Deel. Ex. 10, page 2.

      4. Plaintiffs repeatedly chased Meshi's attorneys for responses to their Document Requests
         after the deadline for the same has passed. Khaskelis Deel. Ex. 6, pages 3, 5-6, 8-9, 12, and
         14-15.

      5. On May 26, 2022, Meshi's attorneys finally produced some of the documents requested,
         showing communications between Meshi and AZ regarding the sales of counterfeit Star
         Gel®. The documents produced are missing messages and files that Meshi failed to
         produce. For example, the attached version that Mr. Yermi Mizrahi referred to on page 1
         ofRosenshine Deel. Ex. 2; the letter referenced in page 4; the ledger referenced on page 5;
         the content of Mr. Noach's message on page 7; the attachment referenced on page 15; etc.
         Rosenshine Deel. Ex. 2.

      6. In September 2016, Meshi made and executed an agreement with Plaintiffs' customer AZ,
         in which Meshi would sell a counterfeit version of Plaintiffs' Star Gel® hair gel to AZ.
         Rosenshine Deel. Ex. 2.

      7. In the exchanges between the parties, Meshi supplied AZ with Plaintiffs' Star Gel®
         artwork file, asking AZ to approve an order of 3,600 units of counterfeit Star Gel® hair
         gel, mentioning that this is the version that Plaintiffs' predecessor (GMIE, managed by Ms.
         Edna Rosenshine) was purchasing. Rosenshine Deel. Ex. 2, pages 1-2.




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      8. The parties went ahead and completed the transaction for a total of $10,800. Khaskelis
         Deel. Ex. 9.

      9. Meshi supplied the export paperwork for the order to a freight forwarder for export.
         Rosenshine Deel. Ex. 2, pages 10-14.

      10. Meshi sold counterfeit Star Gel® hair gel that is identical to Plaintiffs' Star Gel® hair gel
          (identical artwork on identical hair gel product) to Plaintiffs' customer AZ, proving both
          potential and actual customer confusion. Am. Compl. Ex. 5; Khaskelis Deel. Ex. 9.

      11. AZ has been selling the counterfeit Star Gel® for approximately $27 per unit, undercutting
          the genuine Star Gel® MSRP of $40 per unit. Rosenshine Deel. Ex. 1, section 16.
         Rosenshine Deel. Ex. 2.

      12. AZ's sales of 3,600 counterfeit units of Star Gel® at a price of $27 per unit have yielded it
          a total of $97,200. Khaskelis Deel. Ex. 9. Rosenshine Deel. Ex. 2.

      13. Meshi's counterfeit Star Gel® products have been circulating on the market past the
          trademark registration date. Rosenshine Deel. Ex. 2.

      14. On June 27, 2018, Eichut Labels, the company that prints the Star Gel® labels, sent to Mr.
          Noach from AZ and Ms. Nava Mizrahi from Meshi a PDF file titled PastedGraphic-1.pdf,
          containing Plaintiffs' Star Gel® artwork, continuing the counterfeiting operation past the
          trademark registration date. Rosenshine Deel. Ex. 2, pages 15-17.

      15. Star Gel® has been the flagship product ofIG and its predecessors since its introduction in
          the year 2004. Rosenshine Deel. Ex. 1, section 8.
      16. By virtue of being the exclusive private label ofIG and its predecessors, Star Gel® served
          to attract clientele to the business who sought the brand, which could only be found at IG
          and its predecessors. Rosenshine Deel. Ex. 1, section 9.
      17. IG and its predecessors successfully leveraged these new client relationships to upsell a
          wide variety of products to the new clientele brought to the business by Star Gel®.
          Rosenshine Deel. Ex. 1, section 10.
      18. All other products offered for sale by IG and its predecessors, besides Star Gel®, were
          essentially commodities, subject to fierce price competition among vendors. Customers
          who were already purchasing Star Gel® from IG and its predecessors often found it more
          convenient to source these other products from IG and its predecessors as well, rather than
          purchase them from other suppliers, even if IG and its predecessors were not always the
          most cost-effective option for every single one of these other items. Thus, the Star Gel®
          products served as the only source of competitive advantage to IG and its predecessors.
          Rosenshine Deel. Ex. 1, section 11.

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      19. To that end, since its introduction in 2004, the Star Gel® brand has served as the backbone
          ofIG's and its predecessors' business, generating complementary sales many times its own
          revenues in value. Virtually all revenues earned by IG and its predecessors prior to 2020
          were generated by and/or dependent upon sales of Star Gel®. Rosenshine Deel. Ex. 1,
          section 12.
      20. Toward the end of 2015, Mr. Eyal Noach ("Mr. Noach") told IG that he "finally found the
          manufacturer of Star Gel®" and that A to Z Import Inc. ("AZ") "will now be buying Star
          Gel® directly from the manufacturer" at a much lower price than IG's pricing. AZ then
          proceeded to solicit orders for Star Gel® and complementary products from numerous of
          IG's customers, offering them a lower price point for Star Gel® and diverting both Star
          Gel® sales and sales of complementary products from IG. Rosenshine Deel. Ex. 1, section
          13.
      21. IG's gross profits for the years 2015, 2016, 2017, 2018, and 2019 were $138,168,
          $113,940, $74,073, $64,132, and $498, respectively. Rosenshine Deel. Ex. 1, section 14.
      22. IG's declining gross profits between the years 2015 and 2019 were a direct result of Star
          Gel® counterfeiting activities spearheaded by A. Meshi Cosmetics Industries Ltd.
          ("Meshi"). Meshi's counterfeiting of Star Gel® resulted in losses to Plaintiffs that consist
          of lost sales of Star Gel® products and lost sales of complementary products, among other
          losses. Meshi's counterfeiting caused both a diversion of sales of Star Gel® products and
          a diversion of sales of complementary products from Plaintiffs or their predecessors to
          others, including Meshi and AZ. Rosenshine Deel. Ex. 1, section 15.
      23. Despite intense efforts to educate the public about the counterfeit Star Gel®, by 2020 IG's
          original line of business revolving around Star Gel®, including all complementary sales,
          was essentially dead due to rampant counterfeiting of the Star Gel® brand originating from
          Meshi. IG's concerted attempts to market the genuine Star Gel® products have been futile
          in the face of counterfeit Star Gel® merchandise being offered to consumers at
          approximately $27 per unit compared to the genuine Star Gel® MSRP of $40 per unit.
          Rosenshine Deel. Ex. 1, section 16.
      24. Eventually, IG was forced to dispose of 1,008 units of Star Gel® (84 packs of 12) due to
          spoilage, after an extended period of failed attempts to sell them due to unfair competition
          from Meshi's counterfeit merchandise. Rosenshine Deel. Ex. 1, section 17.
      25. Reeling from years of damage inflicted upon it by Meshi's counterfeiting activities, IG was
          forced to turn to new lines of business unrelated to Star Gel® in order to survive, while
          continuing its uphill battle to market the genuine Star Gel® in the face of a determined
          counterfeiting operation designed to aggressively undercut IG's pricing for genuine Star
          Gel® and drive it out of the market. Hence, IG's gross profits from 2020 to the present day
          consist of new lines of business unrelated to its original business model anchored by Star
          Gel®, despite its continued, unwavering efforts to sell the Star Gel® products, which
          persist to the present day. Rosenshine Deel. Ex. 1, section 18.
      26. Meshi never took any action to stop the counterfeiting operation after placing the
          counterfeit Star Gel® products in the stream of commerce, even after IG's cease and desist
          letters were sent or the trademark was registered. Rampant counterfeiting by Meshi, AZ,
          and Mr. Noach (collectively, "Defendants") continues to this day, precluding any genuine

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         Star Gel® sales, never mind the need for IG to source additional stock. Rosenshine Deel.
         Ex. 1, section 19.
      27. Plaintiffs could not locate the invoices for all Star Gel® sales by Plaintiffs' predecessors
          that occurred between the years 2013 and 2015 before the end of discovery. Hence, there
          were additional sales of Star Gel® by Plaintiffs' predecessors between the years 2013 and
          2015, beyond those documented in Exhibit ("Ex.") 7 of the Declaration of Allison
          Khaskelis in Support of the Local Rule 56.1 Statement Submitted by Defendant A. Meshi
          Cosmetics Industries Ltd. ("Khaskelis Deel."). Rosenshine Deel. Ex. 1, section 20.
      28. Plaintiffs could not locate the invoices for Star Gel® sales by Plaintiffs' predecessors that
          occurred after 2015 before the end of discovery. Hence, there were sales of Star Gel® by
          Plaintiffs' predecessors after 2015, including after 2017, which are not documented in
          Khaskelis Deel. Ex. 7. Rosenshine Deel. Ex. 1, section 21.
      29. In calculating the lost profits and damages to goodwill and reputation due to Meshi's
          counterfeiting, Plaintiffs used a 20% compound annual growth rate assumption in the table
          entitled "Computation of Lost Profits and Damages to Goodwill and Reputation"
          (Khaskelis Deel. Ex. 10). This assumption represents a fair estimate of future growth
          potential for IG's Star Gel®-anchored business model for 2016 and beyond, based on
          numerous factors, including, but not limited to, IG's business plans for 2016 and beyond,
          which included substantial increases in IG's marketing budget, expansion plans to target
          new customers, increased prices for the Star Gel® products, an increase in IG's
          complementary products offering, and other growth-oriented aspects, as well as the
          expected increased involvement of Plaintiffs in the management of the business for 2016
          and beyond. Rosenshine Deel. Ex. 1, section 22.
      30. In calculating the lost profits and damages to goodwill and reputation due to Meshi's
          counterfeiting, Plaintiffs used a 25% annual compounding/discount rate assumption in the
          table entitled "Computation of Lost Profits and Damages to Goodwill and Reputation"
          (Khaskelis Deel. Ex. 10). This assumption represents a fair estimate of the required return
          for investing in this type of business, reflecting an appropriate reward for the associated
          investment risk. This required return is also commensurate with the required return implied
          by various buyout offers Plaintiffs and their predecessors received for the business from
          potential investors over the years. Rosenshine Deel. Ex. 1, section 23.
      31. Plaintiffs strongly believe that Meshi sold many more counterfeit Star Gel® units than the
          3,600 counterfeit units it admitted to selling back in 2016, based on the widespread Star
          Gel® counterfeiting that persists in the marketplace until this present day, many years after
          Meshi's said 2016 sale, as well as on GMIE's past purchases of Star Gel® from Meshi,
          which amounted to approximately $10,000 worth of Star Gel® products on an annual basis
          between 2004 and 2012 (around 4,082 units per year at a price of $2.45 per unit), as
          declared by Meshi (Khaskelis Deel. Ex. 1 section 30). As of 2022, six years have passed
          since the counterfeiting sale Meshi admitted to committing in 2016. At a rate of 4,082 units
          per year, it stands to reason that a quantity of at least 24,492 counterfeit units of Star Gel®
          were sold by Meshi to date, given that the market is currently saturated with counterfeit
          Star Gel® merchandise. The quantity of 3,600 that Meshi admits to have counterfeited
          seems unrealistically low by comparison. Rosenshine Deel. Ex. 1, section 24.



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      32. Prior to 2012, Meshi agreed to credit GMIE for 804 defective units of Star Gel® that GMIE
          received from Meshi. The defective units included some units that were not completely
          full, some units that were discolored, some units that exhibited mold, some units that had
          damaged jars, etc. Meshi evidently failed to apply this credit to GMIE's account in its own
          records, as the credit does not appear anywhere on the general ledger that Meshi shared
          with Plaintiffs. Rosenshine Deel. Ex. 1, section 25.
      33. There is no outstanding balance whatsoever due to Meshi from Plaintiffs or any of their
          predecessors. Rosenshine Deel. Ex. 1, section 26.
      34. Meshi is a business that markets cosmetic products bearing its federally registered U.S.
          trademarks "Mon Platin", "Mon Platin Professional", and "Mon Platin DSM Dead Sea
          Minerals" across the United States, including New York State. Rosenshine Deel. Ex. 1,
          section 27.
      35. As part of its business development strategy, Meshi actively solicits business in the U.S.
          by routinely participating as an exhibitor at various U.S. trade shows, operating a website
          in English targeted at U.S. customers, and engaging in extensive marketing efforts for its
          brand in the U.S., including the State ofNew York. Rosenshine Deel. Ex. 1, section 28.
      36. Meshi actively solicits business in the State of New York, as can be clearly seen from a
          section of its website showing some of its affiliates representing it in the State ofNew York
          (Amended Complaint, Exhibit 1, "Website Screenshot"). Rosenshine Deel. Ex. 1, section
          29.
      37. In 2004, in an effort to expand its business operations in New York State, Meshi entered
          into a written agreement with GMIE, a New York corporation, to manufacture for GMIE
          a hair gel bearing GMIE' s Star Gel® trademark (Amended Complaint, Exhibit 2, "Original
          Agreement"; Amended Complaint, Exhibit 3, "Translated Agreement"). Rosenshine Deel.
          Ex. 1, section 30.
      38. According to section 7 of the agreement, GMIE has an exclusive right to the Star Gel®
          trademark with no time limit. Am. Compl. Exs. 2-3.
      39. GMIE introduced the hair gel bearing its Star Gel® trademark to the U.S. market and sold
          it to retail customers and distributors across the U.S., including AZ and Mr. Noach, who
          used to deliver the Star Gel® hair gel on behalf of GMIE to GMIE's customers. Rosenshine
          Deel. Ex. 1, section 32.
      40. AZ is a New York corporation based in Brooklyn, NY, that distributes grocery items,
          including products bearing Mr. Noach's federally registered U.S. trademarks "King Star
          Foods" and "JG Jasmine Gourmet", to retail stores across the U.S., including New York.
          Mr. Noach is the owner and manager of AZ. Rosenshine Deel. Ex. 1, section 33.
      41. On July 31, 2014, GMIE signed a trademark assignment agreement with I Gin which GMIE
          assigns all rights to the Star Gel® trademark to IG (Amended Complaint, Exhibit 4,
          "Assignment Agreement 1"). Rosenshine Deel. Ex. 1, section 34.
      42. IG continued to market the Star Gel® brand in the U.S. in the same manner as GMIE.
          Rosenshine Deel. Ex. 1, section 35.
      43. In November 2016, IG learned that Meshi has been actively deceiving IG's numerous U.S.
          customers, including AZ and Mr. Noach, by approaching them and selling them counterfeit

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         versions of the Star Gel® hair gel (see Exhibit 5 for genuine Star Gel® and counterfeit Star
         Gel®). Rosenshine Deel. Ex. 1, section 36.
      44. Meshi has thereby effectively masterminded and established a sprawling counterfeiting
          operation targeted at IG' s Star Gel® trademark, boasting multiple levels of distribution and
          retail channels across the supply chain throughout the U.S., including the State of New
          York, competing directly with IG and defrauding its customers. Rosenshine Deel. Ex. 1,
          section 37.
      45. Meshi initiates, organizes, and directs the counterfeit Star Gel® operation, including, but
          not limited to, sourcing all the raw materials in the supply chain to bring the counterfeit
          Star Gel® to market; reproducing replica packaging for the counterfeit Star Gel® products;
          overseeing the manufacturing, production, storage, and distribution of the counterfeit Star
          Gel® products, including the associated logistics activities; directing promotional and
          marketing efforts of the counterfeit Star Gel® products across the U.S., including the State
          of New York; deceiving Plaintiffs' customers in the U.S., including New York, by
          approaching them, offering them, and selling them counterfeit Star Gel® merchandise;
          negotiating the terms of sales transactions of counterfeit Star Gel® merchandise with
          Plaintiffs' customers in the U.S., including New York; and collecting payments from
          Plaintiffs' customers in the U.S., including New York, for the illicit sales of the counterfeit
          Star Gel® merchandise. Rosenshine Deel. Ex. 1, section 38.
      46. IG sent demand letters to Defendants on June 20, 2017, informing them ofIG's valuable
          trademark rights and demanding that they cease all use of the Star Gel® trademark.
          Rosenshine Deel. Ex. 1, section 39.
      47. Despite IG's demand from Defendants to stop the unauthorized distribution of its Star
          Gel® brand, Defendants continued to do so. Rosenshine Deel. Ex. 1, section 40.
      48. Star Gel® is a registered trademark of IG, bearing the U.S. Trademark Registration
          Number 5,359,134. A true and correct copy of this registration is attached to the Amended
          Complaint as Exhibit 6. Rosenshine Deel. Ex. 1, section 41.
      49. On January 31, 2018, IG signed a trademark assignment agreement with Elazar Rosenshine
          in which IG assigns all rights to the Star Gel® trademark to Elazar Rosenshine, and on
          January 1, 2019, Elazar Rosenshine signed a trademark assignment agreement with
          Plaintiffs in which Elazar Rosenshine assigns all rights to the Star Gel® trademark to
          Plaintiffs (Amended Complaint, Exhibit 7, "Assignment Agreement 2"; Amended
          Complaint, Exhibit 8, "Assignment Agreement 3"). Rosenshine Deel. Ex. 1, section 42.
      50. Defendants continue to disregard Plaintiffs' demands and warnings to stop the
          unauthorized distribution of items that bear Plaintiffs' Star Gel® trademark. Rosenshine
          Deel. Ex. 1, section 43.
      51. Defendants have refused to respect Plaintiffs' rights, despite repeated demands from
          Plaintiffs since that time. Rosenshine Deel. Ex. 1, section 44.
      52. Plaintiffs have devoted substantial time, effort, and resources to the development and
          extensive promotion of the Star Gel® mark and the products offered thereunder. As a
          result of Plaintiffs' efforts, the public has come to recognize and rely upon the Star Gel®
          mark as an indication of the high quality associated with Plaintiffs' products. Rosenshine
          Deel. Ex. 1, section 45.
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      53. Plaintiffs have not consented to, sponsored, endorsed, or approved of Defendants' use of
          the Star Gel® trademark or any variations thereof in connection with the manufacture,
          marketing, or sale of any products or services. Rosenshine Deel. Ex. 1, section 46.
      54. As of today, Defendants continue to use the Star Gel® trademark without authorization.
          Defendants' failure to comply with Plaintiffs' demands demonstrates a deliberate intent to
          continue wrongfully competing with Plaintiffs and to willfully counterfeit Plaintiffs' rights
          in the Star Gel® trademark. Rosenshine Deel. Ex. 1, section 47.
      55. Defendants' actions are willful and reflect an intent to confuse consumers and profit from
          the goodwill and consumer recognition associated with Plaintiffs' mark. Rosenshine Deel.
          Ex. 1, section 48.
      56. The products that Defendants are marketing and selling are offered through the same
          channels of distribution and to the same target customers as Plaintiffs' Star Gel® brand.
          Rosenshine Deel. Ex. 1, section 49.
      57. Unless enjoined, the Defendants' conduct will continue to injure both Plaintiffs and the
          public. Rosenshine Deel. Ex. 1, section 50.
      58. The products that are the subject of the Amended Complaint were, and continue to be, sold
          and/or offered for sale to customers, including consumers, in New York State, including in
          this Judicial District. Rosenshine Deel. Ex. 1, section 51.
      59. Meshi routinely does business in New York State. Not only did Meshi engage in business
          and contract with GMIE (the original rights holder for the Star Gel® trademark), which
          was a New York corporation, but Meshi also intentionally counterfeits Plaintiffs' Star
          Gel® brand, a federally registered trademark, and sells it in the U.S., including in this
          judicial district in the State ofNew York. Rosenshine Deel. Ex. 1, section 52.
      60. Meshi knowingly sells Plaintiffs' counterfeit Star Gel® trademark to customers in the U.S.,
          some of which are based in New York, and therefore derives revenues and profits from its
          sales in New York. Meshi sells Plaintiffs' counterfeit Star Gel® brand in stores such as
          barbershops, hair salons, grocery stores, supermarkets, and pharmacies all over the U.S.,
          including the State ofNew York and this judicial district. Thus, Meshi' s contact with New
          York is systematic and continuous for a substantial period of time. Rosenshine Deel. Ex.
          1, section 53.
      61. The sale of Plaintiffs' counterfeit trademark in the U.S., including in New York, is the
          direct result of Meshi's manufacturing and sales of products bearing Plaintiffs' Star Gel®
          counterfeit trademark. Meshi conspires with AZ and Mr. Noach to counterfeit Plaintiffs'
          Star Gel® trademark and sell it in New York as well as elsewhere in the U.S. Rosenshine
          Deel. Ex. 1, section 54.
      62. Meshi knowingly and willfully engages in its counterfeiting activities, as it actually
          removed the TM sign from the artwork of its counterfeit product to demonstrate that it does
          not recognize Plaintiffs' rights to their trademark, and printed AZ's contact information on
          the counterfeit product's artwork as its agent in New York (complete with an address in
          New York indicating a Brooklyn location). This proves that Meshi knowingly makes New
          York sales of Plaintiffs' counterfeit Star Gel® trademark. Rosenshine Deel. Ex. 1, section
          55.


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      63. Meshi's counterfeit merchandise bears labels that are written entirely in English (copied
          verbatim from Plaintiffs' original artwork and design), which are clearly intended for the
          U.S. market. Rosenshine Deel. Ex. 1, section 56.
      64. AZ and Mr. Noach are both based in New York and routinely conduct business in New
          York State and across the U.S. Rosenshine Deel. Ex. 1, section 57.
      65. Defendants have used spurious designations that are identical with, or substantially
          indistinguishable from, the Star Gel® trademark on goods covered by registration for the
          Star Gel® trademark. Rosenshine Deel. Ex. 1, section 58.
      66. Defendants have used these spurious designations knowing they are counterfeit in
          connection with the advertisement, promotion, sale, offering for sale, and distribution of
          goods. Rosenshine Deel. Ex. 1, section 59.
      67. Defendants' use of the Star Gel® trademark to advertise, promote, offer for sale, distribute
          and sell Defendants' goods was and is without the consent of Plaintiffs. Rosenshine Deel.
          Ex. 1, section 60.
      68. Defendants' unauthorized use of the Star Gel® trademark on and in connection with
          Defendants' advertisement, promotion, sale, offering for sale, and distribution of goods
          constitute Defendants' use of the Star Gel® trademark in commerce. Rosenshine Deel. Ex.
          1, section 61.
      69. Defendants' unauthorized use of the Star Gel® trademark as set forth above is likely to:
          (a) cause confusion, mistake, and deception; (b) cause the public to believe that
          Defendants' goods are the same as Plaintiffs' goods or that Defendants are authorized,
          sponsored or approved by Plaintiffs or that Defendants are affiliated, connected or
          associated with or in some way related to Plaintiffs; and (c) result in Defendants unfairly
          benefiting from Plaintiffs' advertising and promotion and profiting from the reputation of
          Plaintiffs and their Star Gel® trademark all to the substantial and irreparable injury of the
          public, Plaintiffs and Plaintiffs' Star Gel® trademark and the substantial goodwill
          represented thereby. Rosenshine Deel. Ex. 1, section 62.
      70. Defendants' acts are both willful and malicious. Rosenshine Deel. Ex. 1, section 63.
      71. Plaintiffs' Star Gel® trademark is distinctive and associated in the mind of the public with
          the Plaintiffs. Rosenshine Deel. Ex. 1, section 64.
      72. Additionally, based on the Plaintiffs' extensive advertising, sales, and the popularity of
          their own products, Plaintiffs' Star Gel® trademark has acquired secondary meaning so
          that the public associates the Star Gel® trademark exclusively with the Plaintiffs.
          Rosenshine Deel. Ex. 1, section 65.
      73. Plaintiffs own all right, title, and interest in and to the Star Gel® trademark, as described
          above, including all common law rights in the Star Gel® trademark. Rosenshine Deel. Ex.
          1, section 66.
      74. The Defendants have used counterfeit reproductions of the Star Gel® trademark, in
          connection with the advertising, sale, offering for sale, and/or distribution of goods for their
          own financial gain. Rosenshine Deel. Ex. 1, section 67.



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      75. The products sold by Defendants incorporate imitations of Plaintiffs' common law
          trademark. Rosenshine Deel. Ex. 1, section 68.
      76. Plaintiffs have not authorized the Defendants' use of the Star Gel® trademark. Rosenshine
          Deel. Ex. 1, section 69.
      77. The Defendants' unauthorized use of Plaintiffs' Star Gel® trademark constitutes the use of
          Plaintiffs' registered marks in commerce. Rosenshine Deel. Ex. 1, section 70.
      78. The Defendants' unauthorized use of Plaintiffs' Star Gel® trademark is causing confusion,
          mistake, and deception to the public that believes that the Defendants' products emanate
          or originate from the Plaintiffs, when they do not, or that the Plaintiffs have authorized,
          sponsored, approved, or otherwise associated themselves with the Defendants or their
          counterfeiting products bearing the Plaintiffs' trademark. Rosenshine Deel. Ex. 1, section
          71.
      79. The Defendants' unauthorized use of the Plaintiffs' Star Gel® trademark has resulted in
          the Defendants unfairly and illegally benefitting from the Plaintiffs' goodwill. Rosenshine
          Deel. Ex. 1, section 72.
      80. This conduct has caused substantial and irreparable injury to the public, to Plaintiffs, to
          Plaintiffs' trademark, and the substantial goodwill represented thereby. Rosenshine Deel.
          Ex. 1, section 73.
      81. The Defendants' acts have caused, and will continue to cause, irreparable injury to the
          Plaintiffs. Rosenshine Deel. Ex. 1, section 74.
      82. The Defendants' egregious conduct in repeatedly selling counterfeit merchandise bearing
          the unauthorized Plaintiffs' Star Gel® trademark is willful and intentional, constituting
          an exceptional case. Rosenshine Deel. Ex. 1, section 75.
      83. The actions of Defendants were undertaken willfully and with the intention of causing
          confusion, mistake, or deception, making this an exceptional case. Rosenshine Deel. Ex. 1,
          section 76.
      84. By making unauthorized use, in interstate commerce, of Plaintiffs' Star Gel® trademark,
          the Defendants have used a "false designation of origin" that causes confusion, mistake,
          and deception as to the affiliation or connection of the Defendants with Plaintiffs and as to
          the origin, sponsorship, association or approval of the Defendants' services and goods by
          Plaintiffs. Rosenshine Deel. Ex. 1, section 77.
      85. Defendants engage in counterfeiting of the Star Gel® product packaging design, consisting
          of a one-liter clear transparent plastic round jar with a diameter of 4.75 inches and a height
          of 5.25 inches, capped with a round, glossy white plastic dome-like screw cap overhanging
          the circumference of the jar, and printed with the distinctive Star Gel® logo in black faux-
          script lettering that features a capital letter "G" that incorporates a capital letter "J" in its
          design, which stands for "Jojoba" (the key ingredient), and replaces the letter "a" with a
          hollow five-point star. Additionally, the slogan "The Top Jojoba Hair Gel" is printed
          below the Star Gel® logo in the same font, terminating at the bottom of the letter "G".
          Below the logo and the slogan, the word "Jojoba" is printed in the center, and below it, the
          words "Hair Gel" are printed between two horizontal lines. All these design elements
          consist of the distinctive Star Gel® product packaging design, which has acquired

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         secondary meaning in the marketplace and is instantly recognizable to customers in New
         York and across the U.S., serving the source-identification function for them. By slavishly
         copying all these design elements, Defendants seek to appropriate Plaintiffs' original
         design and capitalize on their brand recognition in New York and across the U.S., fully
         intending to defraud the public at large. Rosenshine Deel. Ex. 1, section 78.
      86. Defendants' acts constitute the use in commerce of false designations of origin and false
          and/or misleading descriptions or representations, tending to falsely or misleadingly
          describe and/or represent the Defendants' products as those of Plaintiffs. Rosenshine Deel.
          Ex. 1, section 79.
      87. The Star Gel® trademark is famous and distinctive. The Star Gel® brand is well known by
          customers in New York and across the U.S., thanks to many years of devoted, extensive
          marketing efforts by Plaintiffs and their predecessors. Rosenshine Deel. Ex. 1, section 80;
          Khaskelis Deel. Ex. 10, section 14 in page 8 and section 14 in page 13.
      88. The Star Gel® trademark is a distinctive mark that has been in use for many years and
          plays a prominent role in Plaintiffs' marketing, advertising, and the popularity of their
          products across many different media. Rosenshine Deel. Ex. 1, section 81.
      89. The Star Gel® trademark has been through prominent, long, and continuous use in
          commerce, becoming, and continues to become, famous and distinctive. Rosenshine Deel.
          Ex. 1, section 82.
      90. The Star Gel® trademark is famous long before the Defendants began using unauthorized
          reproductions, counterfeits, copies, and colorable imitations on their unauthorized
          merchandise. Rosenshine Deel. Ex. 1, section 83.
      91. Long after the Star Gel® trademark became famous, the Defendants, without authorization
          from Plaintiffs, used unauthorized reproductions, counterfeits, copies, and colorable
          imitations of the Star Gel® trademark. Rosenshine Deel. Ex. 1, section 84.
      92. The Star Gel® trademark has gained widespread publicity and public recognition in New
          York and elsewhere. Rosenshine Deel. Ex. 1, section 85.
      93. The Defendants' sale of goods that use the Star Gel® trademark constitutes use in
          commerce of Plaintiffs' Star Gel® trademark. Rosenshine Deel. Ex. 1, section 86.
      94. Plaintiffs have not licensed or otherwise authorized the Defendants' use of their Star Gel®
          trademark. Rosenshine Deel. Ex. 1, section 87.
      95. Defendants' unauthorized use of the Star Gel® trademark causes consumers to locate and
          purchase the Defendants' products in the erroneous belief that the Defendants are
          associated with, sponsored by or affiliated with Plaintiffs, and/or that Plaintiffs are the
          source of those products. Rosenshine Deel. Ex. 1, section 88.
      96. The Defendants' use of Plaintiffs' Star Gel® trademark dilutes and/or is likely to dilute the
          distinctive quality of those marks and to lessen the capacity of such marks to identify and
          distinguish Plaintiffs' goods. Rosenshine Deel. Ex. 1, section 89.
      97. The Defendants' unlawful use of the Star Gel® trademark, in connection with inferior
          goods, is also likely to tarnish that trademark and cause blurring in the minds of consumers


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         between Plaintiffs and the Defendants, thereby lessening the value of Plaintiffs' Star Gel®
         trademark, as unique identifiers of Plaintiffs' products. Rosenshine Deel. Ex. 1, section 90.
      98. By the acts described above, the Defendants have diluted, and are likely to dilute the
          distinctiveness of the Star Gel® trademark, and caused a likelihood of harm to Plaintiffs'
          business reputation. Rosenshine Deel. Ex. 1, section 91.
      99. As a direct result of Defendants' actions, Plaintiffs have suffered and continue to suffer
          damages consisting of, among other things, diminution in the value of and goodwill
          associated with the Star Gel® mark, and injury to Plaintiffs' business. Rosenshine Deel.
          Ex. 1, section 92.
      100.      Defendants' actions described above and specifically, without limitation,
         Defendants' use of the Star Gel® trademark, and confusingly similar variations thereof, in
         commerce to advertise, market, and sell goods that use the Star Gel® trademark throughout
         the United States including New York, constitute unfair competition and false advertising.
         Rosenshine Deel. Ex. 1, section 93.
      101.      The Defendants have palmed off their goods as Plaintiffs', improperly trading upon
         the Plaintiffs' goodwill and valuable rights including Star Gel® trademark. Rosenshine
         Deel. Ex. 1, section 94.
      102.      Through their importation, advertisement, distribution, offer to sell and sale of
         unauthorized products bearing the Star Gel® trademark, Defendants have engaged in
         consumer-oriented conduct that has affected the public interest of the United States
         including New York and has resulted in injury to consumers throughout the United States
         including New York. Rosenshine Deel. Ex. 1, section 95.
      103.       The Defendants' deceptive acts or practices, as described herein, are materially
         misleading. Such acts or practices have deceived or have a tendency to deceive a material
         segment of the public to whom the Defendants have directed their marketing activities, and
         Plaintiffs have been injured thereby. Rosenshine Deel. Ex. 1, section 96.
      104.      The Defendants have committed the above-alleged acts willfully, and in conscious
         disregard of Plaintiffs' rights. Rosenshine Deel. Ex. 1, section 97.
      105.     By the acts described above, the Defendants have engaged in unfair competition.
         Rosenshine Deel. Ex. 1, section 98.
      106.      Customers, including consumers, are misled and deceived by Defendants'
         representations regarding Plaintiffs' Star Gel® trademark. Rosenshine Deel. Ex. 1, section
         99.
      107.      Defendants knew or should have known that their statements were false or likely to
         mislead. Rosenshine Deel. Ex. 1, section 100.
      108.       Defendants have been unjustly enriched by illegally using and misappropriating
         Plaintiffs' intellectual property for Defendants' own financial gain. Rosenshine Deel. Ex.
         1, section 101.
      109.       As an actual and proximate result of Defendants' willful and intentional actions,
         Plaintiffs have suffered and continue to suffer damages including irreparable harm and
         damage to their business, reputation, and goodwill. Rosenshine Deel. Ex. 1, section 102.

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      110.       The actions of Defendants described above and specifically, without limitation,
         their knowledge, participation, and inducement of the unauthorized use of the Star Gel®
         trademark, and confusingly similar variations thereof, in commerce to advertise, market,
         and sell Star Gel® products throughout the United States and New York, constitute
         contributory trademark counterfeiting and infringement. Rosenshine Deel. Ex. 1, section
         103.
      111.      The actions of Defendants as alleged above were a real agreement or confederation
         with a common design to perpetrate one or more torts for an unlawful purpose or by an
         unlawful means. Rosenshine Deel. Ex. 1, section 104.
      112.     Each and every Defendant is equally and vicariously liable to Plaintiffs for their
         damages proximately caused thereby. Rosenshine Deel. Ex. 1, section 105.
      113.      Plaintiffs have performed all conditions, covenants, and promises required to be
         performed by Plaintiffs in accordance with the terms of their written agreement with Meshi
         (Amended Complaint, Exhibit 2, "Original Agreement"; Amended Complaint, Exhibit 3,
         "Translated Agreement"). Rosenshine Deel. Ex. 1, section 106.
      114.       As detailed above, Meshi has breached, and continues to breach, § 7 of its written
         agreement with Plaintiffs by selling merchandise bearing Plaintiffs' Star Gel® trademark
         to third parties, including Plaintiffs' New York customers. Rosenshine Deel. Ex. 1, section
         107.
      115.       Meshi has breached, and continues to breach, its written agreement with Plaintiffs
         by unfairly interfering with Plaintiffs' right to receive the benefits of the agreement, by
         contracting with third parties, including Plaintiffs' New York customers, in a manner that
         capitalizes on Plaintiffs' well-known Star Gel® trademark and deprives Plaintiffs of profits
         from its commercial exploitation. Rosenshine Deel. Ex. 1, section 108.
      116.       As a direct and proximate result of Meshi' s breaches of its written agreement with
         Plaintiffs as aforesaid, Plaintiffs have suffered, and will continue to suffer, enormous
         monetary damages. Rosenshine Deel. Ex. 1, section 109.
      117.       Meshi never submitted initial disclosures. Rosenshine Deel. Ex. 1, section 110.
      118.      Plaintiffs, their predecessors, and their family members have suffered enormous
         damages as a result of Defendants' counterfeiting of the Star Gel® products. Khaskelis
         Deel. Ex. 10, section 21 in page 8 and section 21 in page 13.
      119.       Plaintiffs, their predecessors, and their family members have lost sales of the Star
         Gel® products, have lost sales of complementary products, and have suffered lasting
         goodwill and reputational damages. Khaskelis Deel. Ex. 10, section 22 in page 8 and
         section 22 in page 13.
      120.      Since 2016, when Plaintiffs, their predecessors, and their family members learned
         of Defendants' counterfeiting activities, they have all been spending countless hours
         educating customers on how to distinguish between genuine and counterfeit Star Gel®
         products. Khaskelis Deel. Ex. 10, section 23 in page 8 and section 23 in page 13.
      121.       Despite their best efforts, rampant confusion persists among customers of the Star
         Gel® products as a consequence of Defendants' counterfeiting activities. Khaskelis Deel.
         Ex. 10, section 24 in page 9 and section 24 in page 14.

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      122.       Plaintiffs' and their predecessors' integrity in the market as the exclusive owners
         of the Star Gel® trademark has been severely compromised and permanently impaired as
         a consequence of Defendants' counterfeiting activities. Khaskelis Deel. Ex. 10, section 25
         in page 9 and section 25 in page 14.
      123.     Plaintiffs, their predecessors, and their family members have suffered severe
         emotional distress and mental anguish as a result of Defendants' counterfeiting activities.
         Khaskelis Deel. Ex. 10, section 26 in page 9 and section 26 in page 14.


   Respectfully submitted,


   Dated: October 17, 2022


   Isl Oren Rosenshine   Isl Amir Rosenshine
   Oren Rosenshine       Amir Rosenshine




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   UNITED STATES DISTRICT COURT

   EASTERN DISTRICT OF NEW YORK


    Oren Rosenshine
       20 Hawthorne Lane
                                                               Case No.
       Great N eek, NY 11023
    Amir Rosenshine                                       18CV3 572(LDH)(LB)
       20 Hawthorne Lane
       Great N eek, NY 11023


    Plaintiffs,

        -against-

    1) A. Meshi Cosmetics Industries Ltd.
       8 Shimon Habursakai Street
       Industrial Park Bat Yam 59598
       Israel
    2) A to Z Import Inc.
       305 E 88th Street
       Brooklyn, NY 11236
    3) Eyal Noach
       2445 E 65th Street
       Brooklyn, NY 11234


    Defendants.




                DECLARATION OF OREN ROSENSHINE IN SUPPORT OF
       PLAINTIFFS' RESPONSE TO DEFENDANT A. MESHI COSMETICS INDUSTRIES
                       LTD.'S LOCAL RULE 56.1 STATEMENT




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   OREN ROSENSHINE, Pro Se Plaintiff, declares the following:


      1. I am fully familiar with the facts and circumstances set forth herein.
      2. Attached are true and correct copies of the following documents:
                 Exhibit 1:      Declaration of Amir Rosenshine dated October 17, 2022
                 Exhibit 2:      Communications between A. Meshi Cosmetics Industries Ltd. and A
                                 to Z Import Inc. including translations


   Dated: October 17, 2022
          Great N eek, New York
          Isl Oren Rosenshine
          Oren Rosenshine




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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF NEW YORK


    Oren Rosenshine

    Amir Rosenshine                                         Case No.
                                                                  18cv3572(LDH)(LB)
    Plaintiffs,


        -against-




    1) A. Meshi Cosmetics Industries Ltd.
    2) A to Z Import Inc.
    3) Eyal Noach


    Defendants.




                             DECLARATION OF AMIR ROSENSHINE




       I, Amir Rosenshine, hereby declare as follows:
       1. I am over the age of 18 and I am otherwise competent to make this declaration. I am
          providing this declaration voluntarily.
       2. All the statements herein are within my personal knowledge and are true and correct to the
          best of my knowledge.
       3. The following statements are true during the entire period at issue in the Amended
          Complaint and currently.


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      4. I am co-plaintiff in the Amended Complaint with Oren Rosenshine (collectively,
         "Plaintiffs"). I hold an MBA in Finance and have the valuation expertise required to assess
         the value of lost profits and damages to goodwill and reputation alleged by Plaintiffs.
      5. I am the co-founder of International Grooming, Inc. ("IG") and have been serving as its
         co-CEO since inception. Among other responsibilities, I have been doing all the accounting
         for the company on my own since inception including tax returns preparation.
      6. I have been intimately familiar with IG's business model, marketing strategy, customers,
         vendors, financials, and all other aspects of the company's activities since its inception.
      7. I have been intimately familiar with Global Manufacturing Import Export, Inc.' s ("GMIE")
         business model, marketing strategy, customers, vendors, financials, and all other aspects
         of the company's activities since its inception.
      8. Star Gel® has been the flagship product ofIG and its predecessors since its introduction in
         the year 2004.
      9. By virtue of being the exclusive private label ofIG and its predecessors, Star Gel® served
         to attract clientele to the business who sought the brand, which could only be found at IG
         and its predecessors.
      10. IG and its predecessors successfully leveraged these new client relationships to upsell a
          wide variety of products to the new clientele brought to the business by Star Gel®.
      11. All other products offered for sale by IG and its predecessors, besides Star Gel®, were
          essentially commodities, subject to fierce price competition among vendors. Customers
          who were already purchasing Star Gel® from IG and its predecessors often found it more
          convenient to source these other products from IG and its predecessors as well, rather than
          purchase them from other suppliers, even if IG and its predecessors were not always the
          most cost-effective option for every single one of these other items. Thus, the Star Gel®
          products served as the only source of competitive advantage to IG and its predecessors.
      12. To that end, since its introduction in 2004, the Star Gel® brand has served as the backbone
          ofIG's and its predecessors' business, generating complementary sales many times its own
          revenues in value. Virtually all revenues earned by IG and its predecessors prior to 2020
          were generated by and/or dependent upon sales of Star Gel®.
      13. Toward the end of 2015, Mr. Eyal Noach ("Mr. Noach") told IG that he "finally found the
          manufacturer of Star Gel®" and that A to Z Import Inc. ("AZ") "will now be buying Star
          Gel® directly from the manufacturer" at a much lower price than IG's pricing. AZ then
          proceeded to solicit orders for Star Gel® and complementary products from numerous of
          IG's customers, offering them a lower price point for Star Gel® and diverting both Star
          Gel® sales and sales of complementary products from IG.
      14. IG's gross profits for the years 2015, 2016, 2017, 2018, and 2019 were $138,168,
          $113,940, $74,073, $64,132, and $498, respectively.
      15. IG's declining gross profits between the years 2015 and 2019 were a direct result of Star
          Gel® counterfeiting activities spearheaded by A. Meshi Cosmetics Industries Ltd.
          ("Meshi"). Meshi's counterfeiting of Star Gel® resulted in losses to Plaintiffs that consist
          of lost sales of Star Gel® products and lost sales of complementary products, among other
          losses. Meshi's counterfeiting caused both a diversion of sales of Star Gel® products and

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         a diversion of sales of complementary products from Plaintiffs or their predecessors to
         others, including Meshi and AZ.
      16. Despite intense efforts to educate the public about the counterfeit Star Gel®, by 2020 IG's
          original line of business revolving around Star Gel®, including all complementary sales,
          was essentially dead due to rampant counterfeiting of the Star Gel® brand originating from
          Meshi. IG's concerted attempts to market the genuine Star Gel® products have been futile
          in the face of counterfeit Star Gel® merchandise being offered to consumers at
          approximately $27 per unit compared to the genuine Star Gel® MSRP of $40 per unit.
      17. Eventually, IG was forced to dispose of 1,008 units of Star Gel® (84 packs of 12) due to
          spoilage, after an extended period of failed attempts to sell them due to unfair competition
          from Meshi's counterfeit merchandise.
      18. Reeling from years of damage inflicted upon it by Meshi's counterfeiting activities, IG was
          forced to tum to new lines of business unrelated to Star Gel® in order to survive, while
          continuing its uphill battle to market the genuine Star Gel® in the face of a determined
          counterfeiting operation designed to aggressively undercut IG's pricing for genuine Star
          Gel® and drive it out of the market. Hence, IG's gross profits from 2020 to the present day
          consist of new lines of business unrelated to its original business model anchored by Star
          Gel®, despite its continued, unwavering efforts to sell the Star Gel® products, which
          persist to the present day.
      19. Meshi never took any action to stop the counterfeiting operation after placing the
          counterfeit Star Gel® products in the stream of commerce, even after IG's cease and desist
          letters were sent or the trademark was registered. Rampant counterfeiting by Meshi, AZ,
          and Mr. Noach (collectively, "Defendants") continues to this day, precluding any genuine
          Star Gel® sales, never mind the need for IG to source additional stock.
      20. Plaintiffs could not locate the invoices for all Star Gel® sales by Plaintiffs' predecessors
          that occurred between the years 2013 and 2015 before the end of discovery. Hence, there
          were additional sales of Star Gel® by Plaintiffs' predecessors between the years 2013 and
          2015, beyond those documented in Exhibit ("Ex.") 7 of the Declaration of Allison
          Khaskelis in Support of the Local Rule 56.1 Statement Submitted by Defendant A. Meshi
          Cosmetics Industries Ltd. ("Khaskelis Deel.").
      21. Plaintiffs could not locate the invoices for Star Gel® sales by Plaintiffs' predecessors that
          occurred after 2015 before the end of discovery. Hence, there were sales of Star Gel® by
          Plaintiffs' predecessors after 2015, including after 2017, which are not documented in
          Khaskelis Deel. Ex. 7.
      22. In calculating the lost profits and damages to goodwill and reputation due to Meshi's
          counterfeiting, Plaintiffs used a 20% compound annual growth rate assumption in the table
          entitled "Computation of Lost Profits and Damages to Goodwill and Reputation"
          (Khaskelis Deel. Ex. 10). This assumption represents a fair estimate of future growth
          potential for IG's Star Gel®-anchored business model for 2016 and beyond, based on
          numerous factors, including, but not limited to, IG's business plans for 2016 and beyond,
          which included substantial increases in IG's marketing budget, expansion plans to target
          new customers, increased prices for the Star Gel® products, an increase in IG's
          complementary products offering, and other growth-oriented aspects, as well as the

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         expected increased involvement of Plaintiffs in the management of the business for 2016
         and beyond.
      23. In calculating the lost profits and damages to goodwill and reputation due to Meshi' s
          counterfeiting, Plaintiffs used a 25% annual compounding/discount rate assumption in the
          table entitled "Computation of Lost Profits and Damages to Goodwill and Reputation"
          (Khaskelis Deel. Ex. 10). This assumption represents a fair estimate of the required return
          for investing in this type of business, reflecting an appropriate reward for the associated
          investment risk. This required return is also commensurate with the required return implied
          by various buyout offers Plaintiffs and their predecessors received for the business from
          potential investors over the years.
      24. Plaintiffs strongly believe that Meshi sold many more counterfeit Star Gel® units than the
          3,600 counterfeit units it admitted to selling back in 2016, based on the widespread Star
          Gel® counterfeiting that persists in the marketplace until this present day, many years after
          Meshi's said 2016 sale, as well as on GMIE's past purchases of Star Gel® from Meshi,
          which amounted to approximately $10,000 worth of Star Gel® products on an annual basis
          between 2004 and 2012 (around 4,082 units per year at a price of $2.45 per unit), as
          declared by Meshi (Khaskelis Deel. Ex. 1 section 30). As of 2022, six years have passed
          since the counterfeiting sale Meshi admitted to committing in 2016. At a rate of 4,082 units
          per year, it stands to reason that a quantity of at least 24,492 counterfeit units of Star Gel®
          were sold by Meshi to date, given that the market is currently saturated with counterfeit
          Star Gel® merchandise. The quantity of 3,600 that Meshi admits to have counterfeited
          seems unrealistically low by comparison.
      25. Prior to 2012, Meshi agreed to credit GMIE for 804 defective units of Star Gel® that GMIE
          received from Meshi. The defective units included some units that were not completely
          full, some units that were discolored, some units that exhibited mold, some units that had
          damaged jars, etc. Meshi evidently failed to apply this credit to GMIE's account in its own
          records, as the credit does not appear anywhere on the general ledger that Meshi shared
          with Plaintiffs.
      26. There is no outstanding balance whatsoever due to Meshi from Plaintiffs or any of their
          predecessors.
      27. Meshi is a business that markets cosmetic products bearing its federally registered U.S.
          trademarks "Mon Platin", "Mon Platin Professional", and "Mon Platin DSM Dead Sea
          Minerals" across the United States, including New York State.
      28. As part of its business development strategy, Meshi actively solicits business in the U.S.
          by routinely participating as an exhibitor at various U.S. trade shows, operating a website
          in English targeted at U.S. customers, and engaging in extensive marketing efforts for its
          brand in the U.S., including the State of New York.
      29. Meshi actively solicits business in the State of New York, as can be clearly seen from a
          section of its website showing some of its affiliates representing it in the State ofNew York
          (Amended Complaint, Exhibit 1, "Website Screenshot").
      30. In 2004, in an effort to expand its business operations in New York State, Meshi entered
          into a written agreement with GMIE, a New York corporation, to manufacture for GMIE


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         a hair gel bearing GMIE' s Star Gel® trademark (Amended Complaint, Exhibit 2, "Original
         Agreement"; Amended Complaint, Exhibit 3, "Translated Agreement").
      31. According to section 7 of the agreement, GMIE has an exclusive right to the Star Gel®
          trademark with no time limit.
      32. GMIE introduced the hair gel bearing its Star Gel® trademark to the U.S. market and sold
          it to retail customers and distributors across the U.S., including AZ and Mr. Noach, who
          used to deliver the Star Gel® hair gel on behalf of GMIE to GMIE's customers.
      33. AZ is a New York corporation based in Brooklyn, NY, that distributes grocery items,
          including products bearing Mr. Noach's federally registered U.S. trademarks "King Star
          Foods" and "JG Jasmine Gourmet", to retail stores across the U.S., including New York.
          Mr. Noach is the owner and manager of AZ.
      34. On July 31, 2014, GMIE signed a trademark assignment agreement with IG in which GMIE
          assigns all rights to the Star Gel® trademark to IG (Amended Complaint, Exhibit 4,
          "Assignment Agreement 1").
      35. IG continued to market the Star Gel® brand in the U.S. in the same manner as GMIE.
      36. In November 2016, IG learned that Meshi has been actively deceiving IG's numerous U.S.
          customers, including AZ and Mr. Noach, by approaching them and selling them counterfeit
          versions of the Star Gel® hair gel (see Exhibit 5 for genuine Star Gel® and counterfeit Star
          Gel®).
      37. Meshi has thereby effectively masterminded and established a sprawling counterfeiting
          operation targeted at IG's Star Gel® trademark, boasting multiple levels of distribution and
          retail channels across the supply chain throughout the U.S., including the State of New
          York, competing directly with IG and defrauding its customers.
      38. Meshi initiates, organizes, and directs the counterfeit Star Gel® operation, including, but
          not limited to, sourcing all the raw materials in the supply chain to bring the counterfeit
          Star Gel® to market; reproducing replica packaging for the counterfeit Star Gel® products;
          overseeing the manufacturing, production, storage, and distribution of the counterfeit Star
          Gel® products, including the associated logistics activities; directing promotional and
          marketing efforts of the counterfeit Star Gel® products across the U.S., including the State
          of New York; deceiving Plaintiffs' customers in the U.S., including New York, by
          approaching them, offering them, and selling them counterfeit Star Gel® merchandise;
          negotiating the terms of sales transactions of counterfeit Star Gel® merchandise with
          Plaintiffs' customers in the U.S., including New York; and collecting payments from
          Plaintiffs' customers in the U.S., including New York, for the illicit sales of the counterfeit
          Star Gel® merchandise.
      39. IG sent demand letters to Defendants on June 20, 2017, informing them ofIG's valuable
          trademark rights and demanding that they cease all use of the Star Gel® trademark.
      40. Despite IG's demand from Defendants to stop the unauthorized distribution of its Star
          Gel® brand, Defendants continued to do so.
      41. Star Gel® is a registered trademark of IG, bearing the U.S. Trademark Registration
          Number 5,359,134. A true and correct copy of this registration is attached to the Amended
          Complaint as Exhibit 6.

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      42. On January 31, 2018, IG signed a trademark assignment agreement with Elazar Rosenshine
          in which IG assigns all rights to the Star Gel® trademark to Elazar Rosenshine, and on
          January 1, 2019, Elazar Rosenshine signed a trademark assignment agreement with
          Plaintiffs in which Elazar Rosenshine assigns all rights to the Star Gel® trademark to
          Plaintiffs (Amended Complaint, Exhibit 7, "Assignment Agreement 2"; Amended
          Complaint, Exhibit 8, "Assignment Agreement 3").
      43. Defendants continue to disregard Plaintiffs' demands and warnings to stop the
          unauthorized distribution of items that bear Plaintiffs' Star Gel® trademark.
      44. Defendants have refused to respect Plaintiffs' rights, despite repeated demands from
          Plaintiffs since that time.
      45. Plaintiffs have devoted substantial time, effort, and resources to the development and
          extensive promotion of the Star Gel® mark and the products offered thereunder. As a
          result of Plaintiffs' efforts, the public has come to recognize and rely upon the Star Gel®
          mark as an indication of the high quality associated with Plaintiffs' products.
      46. Plaintiffs have not consented to, sponsored, endorsed, or approved of Defendants' use of
          the Star Gel® trademark or any variations thereof in connection with the manufacture,
          marketing, or sale of any products or services.
      47. As of today, Defendants continue to use the Star Gel® trademark without authorization.
          Defendants' failure to comply with Plaintiffs' demands demonstrates a deliberate intent to
          continue wrongfully competing with Plaintiffs and to willfully counterfeit Plaintiffs' rights
          in the Star Gel® trademark.
      48. Defendants' actions are willful and reflect an intent to confuse consumers and profit from
          the goodwill and consumer recognition associated with Plaintiffs' mark.
      49. The products that Defendants are marketing and selling are offered through the same
          channels of distribution and to the same target customers as Plaintiffs' Star Gel® brand.
      50. Unless enjoined, the Defendants' conduct will continue to injure both Plaintiffs and the
          public.
      51. The products that are the subject of the Amended Complaint were, and continue to be, sold
          and/or offered for sale to customers, including consumers, in New York State, including in
          this Judicial District.
      52. Meshi routinely does business in New York State. Not only did Meshi engage in business
          and contract with GMIE (the original rights holder for the Star Gel® trademark), which
          was a New York corporation, but Meshi also intentionally counterfeits Plaintiffs' Star
          Gel® brand, a federally registered trademark, and sells it in the U.S., including in this
          judicial district in the State of New York.
      53. Meshi knowingly sells Plaintiffs' counterfeit Star Gel® trademark to customers in the U.S.,
          some of which are based in New York, and therefore derives revenues and profits from its
          sales in New York. Meshi sells Plaintiffs' counterfeit Star Gel® brand in stores such as
          barbershops, hair salons, grocery stores, supermarkets, and pharmacies all over the U.S.,
          including the State ofNew York and this judicial district. Thus, Meshi' s contact with New
          York is systematic and continuous for a substantial period of time.


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      54. The sale of Plaintiffs' counterfeit trademark in the U.S., including in New York, is the
          direct result of Meshi's manufacturing and sales of products bearing Plaintiffs' Star Gel®
          counterfeit trademark. Meshi conspires with AZ and Mr. Noach to counterfeit Plaintiffs'
          Star Gel® trademark and sell it in New York as well as elsewhere in the U.S.
      55. Meshi knowingly and willfully engages in its counterfeiting activities, as it actually
          removed the TM sign from the artwork of its counterfeit product to demonstrate that it does
          not recognize Plaintiffs' rights to their trademark, and printed AZ's contact information on
          the counterfeit product's artwork as its agent in New York (complete with an address in
          New York indicating a Brooklyn location). This proves that Meshi knowingly makes New
          York sales of Plaintiffs' counterfeit Star Gel® trademark.
      56. Meshi's counterfeit merchandise bears labels that are written entirely in English (copied
          verbatim from Plaintiffs' original artwork and design), which are clearly intended for the
          U.S. market.
      57. AZ and Mr. Noach are both based in New York and routinely conduct business in New
          York State and across the U.S.
      58. Defendants have used spurious designations that are identical with, or substantially
          indistinguishable from, the Star Gel® trademark on goods covered by registration for the
          Star Gel® trademark.
      59. Defendants have used these spurious designations knowing they are counterfeit in
          connection with the advertisement, promotion, sale, offering for sale, and distribution of
          goods.
      60. Defendants' use of the Star Gel® trademark to advertise, promote, offer for sale, distribute
          and sell Defendants' goods was and is without the consent of Plaintiffs.
      61. Defendants' unauthorized use of the Star Gel® trademark on and in connection with
          Defendants' advertisement, promotion, sale, offering for sale, and distribution of goods
          constitute Defendants' use of the Star Gel® trademark in commerce.
      62. Defendants' unauthorized use of the Star Gel® trademark as set forth above is likely to:
          (a) cause confusion, mistake, and deception; (b) cause the public to believe that
          Defendants' goods are the same as Plaintiffs' goods or that Defendants are authorized,
          sponsored or approved by Plaintiffs or that Defendants are affiliated, connected or
          associated with or in some way related to Plaintiffs; and (c) result in Defendants unfairly
          benefiting from Plaintiffs' advertising and promotion and profiting from the reputation of
          Plaintiffs and their Star Gel® trademark all to the substantial and irreparable injury of the
          public, Plaintiffs and Plaintiffs' Star Gel® trademark and the substantial goodwill
          represented thereby.
      63. Defendants' acts are both willful and malicious.
      64. Plaintiffs' Star Gel® trademark is distinctive and associated in the mind of the public with
          the Plaintiffs.
      65. Additionally, based on the Plaintiffs' extensive advertising, sales, and the popularity of
          their own products, Plaintiffs' Star Gel® trademark has acquired secondary meaning so
          that the public associates the Star Gel® trademark exclusively with the Plaintiffs.


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      66. Plaintiffs own all right, title, and interest in and to the Star Gel® trademark, as described
          above, including all common law rights in the Star Gel® trademark.
      67. The Defendants have used counterfeit reproductions of the Star Gel® trademark, in
          connection with the advertising, sale, offering for sale, and/or distribution of goods for their
          own financial gain.
      68. The products sold by Defendants incorporate imitations of Plaintiffs' common law
          trademark.
      69. Plaintiffs have not authorized the Defendants' use of the Star Gel® trademark.
      70. The Defendants' unauthorized use of Plaintiffs' Star Gel® trademark constitutes the use of
          Plaintiffs' registered marks in commerce.
      71. The Defendants' unauthorized use of Plaintiffs' Star Gel® trademark is causing confusion,
          mistake, and deception to the public that believes that the Defendants' products emanate
          or originate from the Plaintiffs, when they do not, or that the Plaintiffs have authorized,
          sponsored, approved, or otherwise associated themselves with the Defendants or their
          counterfeiting products bearing the Plaintiffs' trademark.
      72. The Defendants' unauthorized use of the Plaintiffs' Star Gel® trademark has resulted in
          the Defendants unfairly and illegally benefitting from the Plaintiffs' goodwill.
      73. This conduct has caused substantial and irreparable injury to the public, to Plaintiffs, to
          Plaintiffs' trademark, and the substantial goodwill represented thereby.
      74. The Defendants' acts have caused, and will continue to cause, irreparable injury to the
          Plaintiffs.
      75. The Defendants' egregious conduct in repeatedly selling counterfeit merchandise bearing
          the unauthorized Plaintiffs' Star Gel® trademark is willful and intentional, constituting
          an exceptional case.
      76. The actions of Defendants were undertaken willfully and with the intention of causing
          confusion, mistake, or deception, making this an exceptional case.
      77. By making unauthorized use, in interstate commerce, of Plaintiffs' Star Gel® trademark,
          the Defendants have used a "false designation of origin" that causes confusion, mistake,
          and deception as to the affiliation or connection of the Defendants with Plaintiffs and as to
          the origin, sponsorship, association or approval of the Defendants' services and goods by
          Plaintiffs.
      78. Defendants engage in counterfeiting of the Star Gel® product packaging design, consisting
          of a one-liter clear transparent plastic round jar with a diameter of 4.75 inches and a height
          of 5.25 inches, capped with a round, glossy white plastic dome-like screw cap overhanging
          the circumference of the jar, and printed with the distinctive Star Gel® logo in black faux-
          script lettering that features a capital letter "G" that incorporates a capital letter "J" in its
          design, which stands for "Jojoba" (the key ingredient), and replaces the letter "a" with a
          hollow five-point star. Additionally, the slogan "The Top Jojoba Hair Gel" is printed
          below the Star Gel® logo in the same font, terminating at the bottom of the letter "G".
          Below the logo and the slogan, the word "Jojoba" is printed in the center, and below it, the
          words "Hair Gel" are printed between two horizontal lines. All these design elements

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         consist of the distinctive Star Gel® product packaging design, which has acquired
         secondary meaning in the marketplace and is instantly recognizable to customers in New
         York and across the U.S., serving the source-identification function for them. By slavishly
         copying all these design elements, Defendants seek to appropriate Plaintiffs' original
         design and capitalize on their brand recognition in New York and across the U.S., fully
         intending to defraud the public at large.
      79. Defendants' acts constitute the use in commerce of false designations of origin and false
          and/or misleading descriptions or representations, tending to falsely or misleadingly
          describe and/or represent the Defendants' products as those of Plaintiffs.
      80. The Star Gel® trademark is famous and distinctive.
      81. The Star Gel® trademark is a distinctive mark that has been in use for many years and
          plays a prominent role in Plaintiffs' marketing, advertising, and the popularity of their
          products across many different media.
      82. The Star Gel® trademark has been through prominent, long, and continuous use in
          commerce, becoming, and continues to become, famous and distinctive.
      83. The Star Gel® trademark is famous long before the Defendants began using unauthorized
          reproductions, counterfeits, copies, and colorable imitations on their unauthorized
          merchandise.
      84. Long after the Star Gel® trademark became famous, the Defendants, without authorization
          from Plaintiffs, used unauthorized reproductions, counterfeits, copies, and colorable
          imitations of the Star Gel® trademark.
      85. The Star Gel® trademark has gained widespread publicity and public recognition in New
          York and elsewhere.
      86. The Defendants' sale of goods that use the Star Gel® trademark constitutes use in
          commerce of Plaintiffs' Star Gel® trademark.
      87. Plaintiffs have not licensed or otherwise authorized the Defendants' use of their Star Gel®
          trademark.
      88. Defendants' unauthorized use of the Star Gel® trademark causes consumers to locate and
          purchase the Defendants' products in the erroneous belief that the Defendants are
          associated with, sponsored by or affiliated with Plaintiffs, and/or that Plaintiffs are the
          source of those products.
      89. The Defendants' use of Plaintiffs' Star Gel® trademark dilutes and/or is likely to dilute the
          distinctive quality of those marks and to lessen the capacity of such marks to identify and
          distinguish Plaintiffs' goods.
      90. The Defendants' unlawful use of the Star Gel® trademark, in connection with inferior
          goods, is also likely to tarnish that trademark and cause blurring in the minds of consumers
          between Plaintiffs and the Defendants, thereby lessening the value of Plaintiffs' Star Gel®
          trademark, as unique identifiers of Plaintiffs' products.
      91. By the acts described above, the Defendants have diluted, and are likely to dilute the
          distinctiveness of the Star Gel® trademark, and caused a likelihood of harm to Plaintiffs'
          business reputation.

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      92. As a direct result of Defendants' actions, Plaintiffs have suffered and continue to suffer
          damages consisting of, among other things, diminution in the value of and goodwill
          associated with the Star Gel® mark, and injury to Plaintiffs' business.
      93. Defendants' actions described above and specifically, without limitation, Defendants' use
          of the Star Gel® trademark, and confusingly similar variations thereof, in commerce to
          advertise, market, and sell goods that use the Star Gel® trademark throughout the United
          States including New York, constitute unfair competition and false advertising.
      94. The Defendants have palmed off their goods as Plaintiffs', improperly trading upon the
          Plaintiffs' goodwill and valuable rights including Star Gel® trademark.
      95. Through their importation, advertisement, distribution, offer to sell and sale of
          unauthorized products bearing the Star Gel® trademark, Defendants have engaged in
          consumer-oriented conduct that has affected the public interest of the United States
          including New York and has resulted in injury to consumers throughout the United States
          including New York.
      96. The Defendants' deceptive acts or practices, as described herein, are materially misleading.
          Such acts or practices have deceived or have a tendency to deceive a material segment of
          the public to whom the Defendants have directed their marketing activities, and Plaintiffs
          have been injured thereby.
      97. The Defendants have committed the above-alleged acts willfully, and in conscious
          disregard of Plaintiffs' rights.
      98. By the acts described above, the Defendants have engaged in unfair competition.
      99. Customers, including consumers, are misled and deceived by Defendants' representations
          regarding Plaintiffs' Star Gel® trademark.
      100.      Defendants knew or should have known that their statements were false or likely to
         mislead.
      101.       Defendants have been unjustly enriched by illegally using and misappropriating
         Plaintiffs' intellectual property for Defendants' own financial gain.
      102.       As an actual and proximate result of Defendants' willful and intentional actions,
         Plaintiffs have suffered and continue to suffer damages including irreparable harm and
         damage to their business, reputation, and goodwill.
      103.       The actions of Defendants described above and specifically, without limitation,
         their knowledge, participation, and inducement of the unauthorized use of the Star Gel®
         trademark, and confusingly similar variations thereof, in commerce to advertise, market,
         and sell Star Gel® products throughout the United States and New York, constitute
         contributory trademark counterfeiting and infringement.
      104.      The actions of Defendants as alleged above were a real agreement or confederation
         with a common design to perpetrate one or more torts for an unlawful purpose or by an
         unlawful means.
      105.     Each and every Defendant is equally and vicariously liable to Plaintiffs for their
         damages proximately caused thereby.


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      106.      Plaintiffs have performed all conditions, covenants, and promises required to be
         performed by Plaintiffs in accordance with the terms of their written agreement with Meshi
         (Amended Complaint, Exhibit 2, "Original Agreement"; Amended Complaint, Exhibit 3,
         "Translated Agreement").
      107.       As detailed above, Meshi has breached, and continues to breach, § 7 of its written
         agreement with Plaintiffs by selling merchandise bearing Plaintiffs' Star Gel® trademark
         to third parties, including Plaintiffs' New York customers.
      108.       Meshi has breached, and continues to breach, its written agreement with Plaintiffs
         by unfairly interfering with Plaintiffs' right to receive the benefits of the agreement, by
         contracting with third parties, including Plaintiffs' New York customers, in a manner that
         capitalizes on Plaintiffs' well-known Star Gel® trademark and deprives Plaintiffs of profits
         from its commercial exploitation.
      109.       As a direct and proximate result ofMeshi's breaches of its written agreement with
         Plaintiffs as aforesaid, Plaintiffs have suffered, and will continue to suffer, enormous
         monetary damages.
      110.       Meshi never submitted initial disclosures.
   I declare under the penalty of perjury under the laws of the United States of America that the
   foregoing is true and correct to the best of my knowledge, information, and belief.
   Dated: October 17, 2022
          Great N eek, New York
          Isl Amir Rosenshine
          Amir Rosenshine




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                            EXHIBIT 2
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    Allison Khaskelis

     From:                      Katya < katya@a-meshi.com >
    Sent:                       Tuesday, 20 September 2016 12:40
    To:                         elinoach@yahoo.com
    Cc:                         'Yermi'
    Subject:                       l'J-·:1_1_1~-..~I
                                FW:~                                      ~-------'                   Gel Manufacturing
    Attachments:                PROFORMA 20160351 A TO Z IMPORT INC.pdf




Hello Eyal,
Attached is a proforma invoice for your order.
Please check and confirm, so that we can move forward.
                                                                                                                                .7mm;, ,,:rn ;,~i,!:iii!:i 11::nvn :1":!m
In addition I ask to complete the missing details of the company:
 1. Your full name
 2. The company VAT number
                                                                                    ¢                                          .mpm, ,:ml!?,,:, ,il!?l\?1 pn:1, I\J


 3. ls the address you provided also the address for shipping?
 Regards,                                                                                                                              7?1!? l\?~;-J tll!?;-J        .1
 Katya                                                                                                                                   ?IL' VAT i!:iO~
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    From: Eli Noach [ mailto:elinoach@yahoo.com] Hi Eyal,
    Sent: Thursday, September 15, 2016 2:13 PM It was nice talking to you over the phone and I hope we can do business
    To: Yermi
    Subject: Re:       I')';,. 71~"1
                               Gel Manufacturing
                                                 together.
                                                 I ask that you send me a sample of the 1000 ml gel so that I can produce
                           ~                     the product per your requirement, Ms. Edna ordered several versions of
    A TO Z IMPORT INC                            the product and it would be best that I produce according to sample.
    305 EAST 88 ST                               Attached is one of the versions.
    BROOKLYN NY 11236                            I also ask for your company details so that I can issue you an order for
    718-676-7788                                 your  confirmation.
                                                 As I explained to you over the phone, you will be responsible for the issue
                                                 regarding usage rights of the product name and designs.
    On Thursday, September 15, 2016 3:53 AM, Yermi <yermi@a-meshi.com> wrote:
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                                                       nl'Olllil nnN. ~ 11 ::lY.l N.Y.l~l"T 1 9'7 lJ::l~N.\!J ll)l ')ill l::llY.lil '7\!J nl'Oll 'on l~lJ~ ill::l"
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  A MESHI -=osMETIC I NOt..JS F'IIES




  YERMI MIZRAHI                                                                       The product price will be $3 per unit, minimum order
                                                                                      3,600 units, the price is EX WORK
tlTel: 972-3- 9512017                                                                 Thanks in advance, Yermi
® Fax: 972-3-9512018
~ YERMl@A-MESHI.COM
  http://www.monplatin .com




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To:        A TO Z IMPORT INC                                                                  Date:            20/09/16

           305 EAST 88 ST                                                                     Time:               12:41
           BROOKLYN NY 11236
                                                                                              L.T.:          511947020
           USA




                                    Quotation              20160351
~ Item code         Description                                            Quantity           Price          Total
L2._ lsTAR 1 lmJOBASTARGELlOOOml                                                      3,600            3.00 $10,800.00$

Contact date     20/10/16

                                                                           VAT exempt                       10,800.00 $1
Sales person:    -1)10   N.'1'1-

Payment:         Pre Pay

EX WORK
MADE IN ISRAEL                                                             VAT                0.00 %

                                                                           Total                            10,800.00$




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Address:   Shimon Hburskai 8                        Tel:   972-3-9512017               Fax:              972-3-9512018
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 Allison Khaskelis

 From:                          Eli Noach <elinoach@yahoo.com >
 Sent:                          Sunday, 4 December 2016 3:31
 To:                            Katya
 Subject:                       Re: ORDER IS READY
 Attachments:                   gel.jpeg

 Follow Up Flag:                Jl9'l) l\Ul1i1
 Flag Status:                   Flagged




 On Wednesday, November 30, 2016 8:20 AM, Katya <katya@a-meshi .com> wrote:




Hello Eyal,
Attached is a letter for your signature.                                                                                  .7nn•nn'7 :::in:m :::i"::m
Please add ID number and last name and sign.                                                    . □ mnrn iln9\UY.l D\UI   r"n 'on   c-i•om il\Uj7:::l:::l
And send us scanned.                                                                                                           j71lO 1J 1'7N   n'7\Urn
Regards
Katya                                                                                                                                          il)l:::l:::l
                                                                                                                                                  il'lJj7




       A MESH• eoSMETIC INOUS                    IE!;




 1:1 KATYA MIZRAHI

          el : 972-3- 9512017
       ® Fax: 972-3-9410839
       ~ katya@a-meshi .com
       G www.monplatin .com


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From: Katya [mailto:katya@a-meshi .com]
Sent: Wednesday, November 23, 2016 10:54 AM
To: 'elinoach@yahoo.com' <elinoach@yahoo.com>
Cc: 'Yermi' <yermi@a-meshi.com>
Subject: ORDER IS READY



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                                          Hello Byal,

           ~   . .--=rs-~                 1. Your order is ready.
                                           Attached invoice and packing list for the order.
                                          2. Please transfer $1,200 ASAP. (Attached is an accounting ledger)
                                          3. Yermi is asking that you send him commitment that you take
!! KATYA MIZRAHI                           responsiblity for the name and design of the gel.
                                          Regards
  STel: 972-3- 9512017                    Katya
  ® Fax: 972-3-9410839
  ~ katya@a-meshi .com
   · www.monplatin.com




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                                    A OZ IMPORT
                                 301 EAST 88 ST .
                               BROOKLYN NY 11236




To whom it may concern

Re: Production of hair gel under the name: STAR GEL

I, Mr. Eyal Noach, in the name of A TO Z IMPORT INC hereby declare that the product name and its design
are my exclusive responsibility, the manufacturer A. Meshi Industries Ltd. is not responsible for the usage
rights of this name and for the usage rights of the product design

Sincerely:




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      Allison Khaskelis

      From:                          Katya < katya@a-meshi.com >
      Sent:                          Sunday, 4 December 2016 9:12
      To:                            'Eli Noach '
      Subject:                       RE: ORDER IS READY


                      Hello Eyal

                      Thank you.                                                                                                                           . ilJ.l il1'1n

                      Please arrange for transportation ASAP.                                                                    . D-Yj7ilJ. i1'7J.lil l~lN.TI il\!Jj7J.J.


                                                                                                                                                                il)lJ.J.
                      Regards                                                                                                                                      il'1Jj7
                      Katya



         A MESHI C:OSM             TIC I NOUS           ~•ee


                 :I jl' O~Oljl !ii I'IUJJl'I 'lw. . ~




      KATYA MIZRAHI

t;I      t:fTel : 972-3- 9512017
         ® Fax: 972-3-9410839
            katya@a-mesh i.com
         C www.monplatin .com




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      From: Eli Noach [mailto :elinoach@yahoo.com]
      Sent: Sunday, December 4, 2016 3:31 AM
      To: Katya <katya@a-meshi.com>
      Subject: Re: ORDER IS READY




      On Wednesday, November 30, 2016 8:20 AM , Katya <katya@a-meshi.com> wrote:



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         A MESI-II C:OSME                    IC I NOUST     IE5




                                                                                                                         Hello Eyal,
      1:1 KATYA MIZRAHI                                                                                                  Attached is a letter for your signature.
                                                                                                                         Please add ID number and last name and
               Tel : 972-3- 9512017                                                                                      sign.
          liID'Fax: 972-3-9410839
                                                                                                                         And send us scanned.
          ~ katya@a-meshi .com
                                                                                                                         Regards
          C www.monplatin.com
                                                                                                                         Katya




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      From: Katya [mailto:katya@a-meshi.com]
      Sent: Wednesday, November 23, 2016 10:54 AM
      To: 'elinoach@yahoo.com' <elinoach@yahoo.com>
      Cc: 'Yermi' <yermi@a-meshi.com>
      Subject: ORDER IS READY



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Hello Eyal,                                                                                                                                                               il'lJj7
1. Your order is ready.
 Attached invoice and packing list for the order.
2. Please transfer $1,200 ASAP. (Attached is an accounting ledger)
3. Yermi is asking that you send him commitment that you take responsiblity for the
 name and design of the gel.
Regards                                                       2
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Katya
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8   KATYA MIZRAHI

       Tel : 972-3- 9512017
    '®'Fax: 972-3-9410839
    E;ikatya@a-mesh i.com
    C www.monplatin .com




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Allison Khaskelis

From:                                Katya < katya@a-meshi.com >
Sent:                                Tuesday, 13 December 2016 11 :17
To:                                  'Tomer Hemi '
Subject:                             RE:l'J n'JJIJi1-A TO z I                                                     .-------~    Containerization for A TO Z
Attachments:                         PACKING LIST FOR INVOCE 2016002481 A TO Z IMPORT INC.doc; INVOICE 2016002481 A TO Z
                                     IMPORT INC.pdf




      Hello Tomer
                                                                                                                                                  . il"ll:!J □ lJ9 nn'111:!J .n1 11 1il J."~n
      Attached is the paperwork. Sending second time.
      Regards                                                                                                                                                                            il)lJ.J.
      Katya

                                                                                                                                                                                              il'lJj7




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KATYA MIZRAHI

        Tel : 972-3- 9512017
    l@'Fax: 972-3-9410839
    ~ katya@a-meshi .com
    G www.monplatin.com


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From : Tomer Hemi [mailto :tomer@gal-r.co.il]
Sent: Tuesday, December 13, 2016 10:59 AM
To: katya@a-meshi.com                                       ~
Subject: RE :1'7 i1'7J1Jil-A TO                    z       I ~ Containerization for A TO Z
        Katya                                                                                                 ~                                                                               il'lJj7
        Send me please the paperwork for the shipment                                                         ~          ni'71:!JY.lil   '11:!J    l'{l~'il n1 11 1 n/1{ ill:!Jj7J.J.   •'1   •n'11:!J




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Thanks & Best Regards ,


Tomer Hemi
Ocean Export Manager
Gal-R International Forwarding Ltd
Tel : 972-8-9132771
Fax : 972-8-9257889
Mobile: 972-XX-XXXXXXX
E-mail : tomer@gal-r.co.il
Web site: www.gal-r.co.il                                     Hello
                                                              Following are the containerization details for the next
                                                              container to Eyal A TO Z New York on Tuesday 12.13 at
                                                              08:00
                                                              Meshi - 6 pallets
                                                              Kliyat Zahi - 2 pallets
                                                              Victor Dalton - 12 pallets

                                                              Kliyat Zahi will bring the pallets to Dalton by the
                                                              containerization date
                                                              The container will load first at Meshi, afterward Dalton and
                                                              then enter Haifa port
                                                              Please confirm your participation




From: Tomer Hemi
Sent: Wednesday, December 7, 2016 4:04 PM
To: 'ZAHI_BARANSl@HOTMAIL.COM ' <ZAHi BARANSl@HOTMAIL.COM>; " victor_t.nesher@hotmail.com'
<'victor_t.nesher@hotmail.com>; 'katya@a-meshi.com ' <katya@a-meshi.com>
Cc: ' Eli Noach' <elinoach@yahoo.com>
Subject: I'7 i1'7J1Ji1-A TO Z I




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Containerization for A TO Z
                                                                          i1'7)Y.li1i1 "TlJIY.l "Tl} 1m'7"T'7 D 1 nlJl!JY.li1 nN N'J.' 'i1NT n        11   '1j1
                                                              i19'n '7m'7 ODnl pn'7"T pY.l 1nN'7 ,'l!JY.l '7~?< D"Tlj1 O'Y.llJTI i1'7DY.li1




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Thanks & Best Regards ,


Tomer Hemi
Ocean Export Manager
Gal-R International Forwarding Ltd
Tel : 972-8-9132771
Fax : 972-8-9257889
Mobile: 972-XX-XXXXXXX
E-mail : tomer@gal-r.co.il
Web site: www.gal-r.co.il




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                PACKING LIST FOR INVOICE: 2016002481

                         A TO Z IMPORT INC
                                 6PALLETS
                           TOTAL WEIGHT: 4262.0 kg

                 #1   120x84xH167                        W:   714.0 kg
                 #2   120x84xH168                        W:   716.2 kg
                 #3   120x84xH167                        W:   705.4 kg
                 #4   120x84xH168                        W:   712.6 kg
                 #5   120x84xH168                        W:   705.0 kg
                 #6   120x84xH167                        W:   708.8 kg




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                                                                                          A .MESH I COSMETIC IN DUS TRI ES

A.meshi cosmetic industries
                                                                                          i7iJ't:J TJ UliJ    n l ' V l l n 'VTJ .N'




To: A TO Z IMPORT INC                                                                                        Date:               23/11/16

     305 EAST 88 ST                                                                                          Time:                      10:57
     BROOKLYN NY 11236
                                                                                                             L.T.:            511947020
     USA




~
                                                      Invoice          2016002481                                          Original
  # Item code         Description                                              HS code         Quantity         Price           Total
...__
   1 STAR 1           JOJOBA STAR GEL 1000ml                                   33059000             288           $ 3.00        $ 864.00
...__
  2 STAR 1            JOJOBA STAR GEL 1000ml                                   33059000             312           $ 3.00        $ 936.00
...__
  3 STAR 1
...__
                      JOJOBA STAR GEL 1000ml                                   33059000             276           $ 3.00        $ 828.00
  4 STAR 1            JOJOBA STAR GEL 1000ml                                   33059000             324           $ 3.00        $ 972.00
...__
  5 STAR 1            JOJOBA STAR GEL 1000ml                                   33059000             312           $ 3.00        $ 936.00
...__
  6 STAR 1            JOJOBA STAR GEL 1000ml                                   33059000             276           $ 3.00        $ 828.00
...__
  7 STAR 1            JOJOBA STAR GEL 1000ml                                   33059000               12          $ 3.00          $ 36.00
...__
  8 STAR 1            JOJOBA STAR GEL 1000ml                                   33059000             288           $ 3.00        $ 864.00
...__
  9 STAR 1            JOJOBA STAR GEL 1000ml                                   33059000             300           $ 3.00        $ 900.00
...__
  10 STAR 1           JOJOBA STAR GEL 1000ml                                   33059000               12          $ 3.00          $ 36.00
...__
  11 STAR 1           JOJOBA STAR GEL 1000ml                                   33059000             564           $ 3.00     $ 1,692.00
...__
  12 STAR 1           JOJOBA STAR GEL 1000ml                                   33059000               36          $ 3.00        $ 108.00
...__
  13 STAR 1           JOJOBA STAR GEL 1000ml                                   33059000               12          $ 3.00          $ 36.00
...__
  14 STAR 1           JOJOBA STAR GEL 1000ml                                   33059000             240           $ 3.00        $ 720.00
...__
15 STAR 1             JOJOBA STAR GEL 1000ml                                   33059000             348           $ 3.00     $ 1,044.00
~




Pay by                23/11/16

- on 11\U'N. •"9y llj71lJ. 'l)']Yl iU'ln
                                                                                       VAT exempt                           $ 10,800.001
Sales person:         -1)10 N.'7'7-

Payment:              Pre Pay

EX WORK
MADE IN ISRAEL
                                                                                       VAT                   0.00 %

                                                                                       Total                                $ 10,800.00




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Address:      Shimon Hburskai 8                                 Tel:   972-3-9512017                Fax:                 972-3-9512018
              Bat-Yam 5959249                                                                       AMeshi_000019
              ISRAEL
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Allison Khaskelis

From:           Eichut Labels < labels@netvision.net.il >
Sent:           Wednesday, 27 June 2018 9:19
To:             Eli Noach; Nava
Subject:        Re: Star Gel
Attachments:    PastedGraphic-1.pdf; _ _ _ _ _ _ 00092.htm




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                                                                                               Good luck!     ~                      !;in1,l;i:::i

                                     :On 30 Oct 2016, at 12:54 PM, Eichut Labels <labels@netvision.net.il> wrote

                                                                                                       <PastedGraphic-5 .pdf>




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